Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 1 of 186 Page ID
                                 #:27213




                 EXHIBIT 16
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 2 of 186 Page ID
                                 #:27214




                                EXHIBIT 16
                                   177
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 3 of 186 Page ID
                                 #:27215




                 EXHIBIT 17
         Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 4 of 186 Page ID
                                          #:27216                                  te,             -




                                                WARNER COMMUNICATIONS INC.




               MARTIN D PAY5ON
               or•.cc or r...e
               ANO GCNCIRAL COUNSEL
                                                                     August 8, 1988


                    Mr. Joseph Shuster
                    256 South Robertson
                    Beverly Hills, CA 90211
                    Dear Joe:
                          I know from Joanne Siegel that she has kept you up to date
                    as to the discussions and correspondence which have taken place
                    between she, Jerry and I, and the new compensation arrangements
                    which Warner Communications has agreed to for Jerry's and your
                    benefit.
                        Retroactive to January 1, 1988, we will be making payments
                   to each of you and Jerry at the rate of $80,000 per annum, plus
                   an annual cast of living increase of up to 10%, commencing 1989
                   based upon the U.S. Department of Labor statistics for the cost
                   of living applicable to the Los Angeles area. In addition we
                   will make a one-time payment of $15,000 (less withholding
                   taxes). We have also agreed to reimburse Jerry and. Joanne for
                   the reasonable moving expenses which they will incur on their
                   move to a new apartment. At the time such expenses are paid,
                   we will make a similar payment to you, even though you will not
                   be incurring any such expenses.
                        I am pleased to enclose a check in the amount of $11,550
                   representing the 1988 special payment of $15,000 Less
                   withholding taxes.
                        Steve Ross, Deane Johnson and William Sarnoff join me in
                   extending to you our best personal wishes.
                                                                     Sin er
                                                                         2 ly

                                                                        1/1(
                                                                     Martin D. Payson

                   Enclosure
                   cc: Joanne Siegel


                                 75   ROCKEFELLER PLAZA, NEW YORK,   N.Y. 10019   212-484-6520



Confidential                                                                                     W B005603
                                                        EXHIBIT 17
                                                           178
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 5 of 186 Page ID
                                 #:27217




                 EXHIBIT 18
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 6 of 186 Page ID
                                 #:27218


                  Ku0.1.1,   r 111/.1
                                1011• 1
          212      4\.




          \ 1.1irlin D. 11 .on
                   Chm.n.in
          11+,1    GoicrilCounwl




                                                            TIME WARNER INC.



                                                       March 12, 1990


        Mrs. Joanne Siegel
        11928 Darlington Avenue, apt. 102
        Los Angeles, CA 90049
        Dear Joanne:
            This is to let you know that the cost of living for the
        Los Angeles area for 1989 increased by 5.15% over 1988.
        Accordingly, I am instructing the payroll department to make
        the 5.15% increase, to be applied to Jerry and Joe's compen-
        sation retroactive to January 1, 1990.
              With best wishes to you, Jerry and Joe.
                                                       C rd'al y,


                                                       Martin D. Payson
        cc: Joe Shuster
             Elaine Klein




                                          EXHIBIT 18                      DCC00004908

                                             179
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 7 of 186 Page ID
                                 #:27219




                 EXHIBIT 19
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 8 of 186 Page ID
                                 #:27220



       %.5 R ocket- cller Plata
       Ncw York, NY 10019
       212 484 6520


       Martin D. Payson
       \i,cr Chairman




                                                      TIME WARNER INC.



                                           March 5, 1991



            Mrs. Joanne Siegel
            11928 Darlington Avenue, Apt. 102
            Los Angeles, CA 90049
            Dear Joanne:
            Please be advised that the cost of living for the Los
            Angeles area for 1990 increased by 5.45% over 1989.
            Accordingly, I am instructing the payroll department
            to make the 5.45% increase, to be applied to Jerry and
            Joe's compensation retroactive to January 1, 1991.
            With best wishes to you, Jerry and Joe.

                                           Since


                                           Martin D. ayson
            cc: Joe Shuster
                 Elaine Klein




                                                                      DCC00005669


                                  EXHIBIT 19
                                     180
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 9 of 186 Page ID
                                 #:27221




                 EXHIBIT 20
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 10 of 186 Page ID
                                 #:27222
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 11 of 186 Page ID
                                 #:27223




                 EXHIBIT 20
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 12 of 186 Page ID
                                 #:27224
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 13 of 186 Page ID
                                 #:27225




                 EXHIBIT 21
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 14 of 186 Page ID
                                 #:27226




                                 EXHIBIT 21
                                    182
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 15 of 186 Page ID
                                 #:27227




                                 EXHIBIT 21
                                    183
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 16 of 186 Page ID
                                 #:27228




                 EXHIBIT 22
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 17 of 186 Page ID
                                 #:27229




                                               316 Horton Ln. NW
                                               Albuquerque, NM 87114
                                               August 21, 1992



     Marty Payson, Vice-President
     Time Warner
     75 Rockefeller Plaza
     New York, NY 10019

     Dear Mr. Payson,
          This will be one of the most difficult letters I've ever written
     and one I wish I didn't have to write. As you know, your friend and my
     brother, Joe Shuster, died on July 30. Joe and I were very close.
     Every week we talked on the phone. Back in the late 1940's and 1950's
     when Joe was struggling, I helped support him by sending him a weekly
     check so he could go on creating new ideas and hopefully sell them.
     My brother Frank knows this because he took over supporting Joe after
     I married in 1955. I was happy to do this because I loved him.
     Joe always assured me that I would be taken care of after his demise.
          I have just returned from Los Angeles where I spent a very stressful
     two weeks arranging for Joe's funeral, disposing of the belongings
     in his apartment and trying to get the financial affairs in order. In
     going through his papers I was shocked to learn that Joe did not only
     not have much money in the bank but that he had almost $20,000 in
     credit card debts and unpaid bills (copies of bills enclosed). He
     only had one active bank account at Security Pacific National Bank with
     $23,773 in it, in which he received his direct deposit checks from
     Time Warner. I do not have access to his account until the legal things are set-
     tled while the 20% interest continues to accrue on his credit card debt.
     I could not find any other assets except two dormant bank accounts with
     $167 and $11 in them. I thought Joe might have had a small life insurance
     policy through his pension to pay his final debts and expenses.
     Unfortunately, he did not.
          As heir to his Will, I am responsible for paying off his credit card
     debts, along with any bills that will be coming in and forwarded to me--
     utilities, half month's rent, unknown credit debts, legal fees, etc. Today
     I received another bill from the County Coroner. Thankfully, Paul Levitz
     said Time Warner would cover it.

          I find myself in a financial plight. How could Joe Shuster end up
     with an estate of almost nothing? And what if more debt and bills come in?
     His estate may not even be able to cover it. It's bad enough to lose a
     family member with whom you are close but it's devastating when they leave
     a burden of large unpaid debts and bills which the estate can barely cover.
     On top of this, my son and I had great expenses flying out to California,
     staying at a motel, renting a car, etc. My husband and I are of modest
     means. We live on my husband's modest pension and this was very expensive
     for us. In addition, we still don't know how much the legal fees will be.
     The estate may not cover it at all.




                                     EXHIBIT 22                                    • DCC00006477
                                        184
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 18 of 186 Page ID
                                 #:27230




           This is very embarrassing for me to have to write to you this way.
      It's unbelievable to me that Joe could have so little considering the
      generosity shown by Time Warner in raising the pension income of
      Siegel and Shuster. Through his 1991 tax return and 1992 pay memos,
      I found out he was receiving $2,627 twice a month after withholding or
      $63,000 a year after taxes. I had my son itemize Joe's 1992 checks and
      bank statements to see where his money went. We've been able to account
      for most of his checks. From January of 1992 to the middle of July, we
      found he wrote almost $31,000 in checks, plus there are other checks
      still unaccounted for. In a little over six months, he spent everything
      he took in.

           Almost $1,500 a month went for rent. Almost $500 for utilities. We
      also found that over $1,200 a month was being paid to Joanne Siegel for
      some kind of commission for including him in the pay raise. It appears
      that for quite a few years, she has been taking 20% of his income as
      an agent's commission for getting pay raises for Siegel and Shuster.
      All of this consumed about $3,200 a month. The rest went for groceries (home
      delivered), personal and health items, and lots of clothes and stereo
      systems that filled his large apartment from floor to ceiling which he
      gave to charity at the end.

           Joe was very generous. He likeito spend on himself and he liked to
      give things away. In Joe's interview by a reporter from the Toronto Star
      who came to Joe's apartment, he wrote, "Ohe corner of his apartment is
      jammed with stereo components--three turntables, several tapedecks, and a
      dozen high-power speakers--that will be donated to the visually impaired."
      This must have cost thousands of dollars. Yet, when I came to his
      apartment, more equipment had been bought and every room was jamm-packed
      from floor to ceiling full of stereo components and speakers. This time
      he promised this to the Music Department of the Los Angeles Valley College.
      When they came to take the equipment, they showed me a letter authorizing
      them to get it for this good cause. This equipment must have cost thousands
      and thousands of dollars. He also had every closet stuffed full of jackets
      and clothes piled everywhere.

          Joe's ladyfriend admitted to me how generous he had been to her and
     her son. Her son is a psychology professor and I asked if he could tell
     me why Joe spent so much money. He said that Joe was a compulsive buyer
     triggered by years of deprivation, so when he had a chance, he went on
     shopping sprees. He was also very generous and gave when he heard there
     was a need.
          I am glad Joe spent the last years of his life happy. Joe Shuster was
     a kind, generous, and creatively brilliant man. He made great contributions
     to this world. Unfortunately, Joe left his family with a crushing burden
     of unpaid debts and bills and only a tiny estate to cover it. Joe did not
     like to deal with business. And now he has put a terrible burden on me which
     I know he never intended. The kindness and generosity of Warner Communications
     and now Time Warner has been demonstrated in the past. Any help that
     Time Warner could give to the family of Joe Shuster to pay his final debts and
     expenses would be warmly appreciated at this time of mourning. The Shuster
     family looks forward to seeing you at the memorial service on September 24.

                                              -2-



                                     EXHIBIT 22                                       DCC00006478
                                        185
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 19 of 186 Page ID
                                 #:27231




    With warmest regards,
              (-)


     Jean Shuster Peavy




     Enclosed: The bill from the County Coroner.
     A schedule of Joe's debts with copies of statements.
     His latest bank statement from Security Pacific.
     An itemization of the amounts of most of his checks written in 1992.
     The agreement with Joeanne Seigel to take 20% of his income and copies
     of the two latest checks to her.




                                     EXHIBIT 22                               DCC00006479
                                        186
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 20 of 186 Page ID
                                 #:27232




                         Schedule of Debts of Joe Shuster


     Due Date                    Creditor                       Amount

     8-24-92             Sears Charge                           $5,325.54

     8-21-92             First Select VISA                       5,280.76

      8-21-92            BankAmericard VISA                      2,742.75
     as of 8-19-92       The Broadway                            2,415.15

      8-13-92            Circuit City Stores                     1,161.--

      8-14-92            Security Pacific Bank Card              1,061.18

      7-9-92             JC Penney                                 101.16
      8-13-92            Century Cable                             103.02
     July/August         Electric bill based on 1-7-92 bill        200

      8-7-92             Telephone bill                            130
      8-1 to 8-13        assessment for 1/2 month rent             750
      1992               Final Tax Returns-Tax Counsel Assc.       300

     Total Debts and Final Obligations                         $19,570


     LEGAL/PROBATE FEES STILL UNKNOWN




                                     EXHIBIT 22                             DCC00006480
                                        187
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 21 of 186 Page ID
                                 #:27233

               ,7   Ii           Utiaige                                               , '.cunt Number:
                                                                                       tlithnçj date:
                                                                                                                                29 8
               ( Liox Aeu                                                                                           J uly 25, 1992
               Cll CUCAMGA CA 91729
                                                                                       ACCOUNT SUMMARY
                                                                                       Previous balance                    $5,435,59
                                                                                       Total payments                  .      200.00
                                                                                       Total charges                            5.41
                                                                                       'fetal credits                           000
                         1 111111011141111.111411111111111111 ■ 1111111311111111       Finance charge                             54
                           JOSEPH M SHUSTER
                                                                                       Now balance
                           11944 MONTANA AVE
                           LOS ANGELES CA 90049-5033
                                                                                       Minimum due:                    " $156.00           '01
                                                                                       Due date:                 August 24, 1882 ss,
                                                                                                                               ^r     *°

      TRANSACTIONS                                                                     HELPFUL INFORMATION
      Jul 11 PAYMENT - THANK YOU .   .. — .        . . . - $200.00                     Available Credit: 31,694
      Jul 15 CAT07R354310, CATALOG SALE, 800-366.3000. .....  5 41                     If the amount of Available Credit is not
                                                                                       sufficient. or you have a question, call:
      SPECIAL ACCOUNT INFORMATION                                                            (800) 877-8498
      The amount due shown above includes a past due amount, You                             M F 9-9, SAT 9-0
      should send the entire amount duo now. If payment has been
                                                                                       Mail any billing error notices to:
      made recently, please disregard this request.                                          P.O. BOX 5001
                                                                                             RCH CUCAMONGA CA 91729-0000
                                                                                             Please include your account
                                                                                             number with any correspondence.

                                                                                       SEARSCHARGE BONUS CLUB
                                                                                       Great Newsl Now the SearsCharge
                                                                                       Bonus Club pays you back in
                                                                                       money-saving certificates every time
                                                                                       your SearsChargo purchases build up
                                                                                       to $200 or more. You need only
                                                                                       $140.48 more in charges to earn your
                                                                                       bones. It pays to shop at Sears!


      FINANCE CHARGE RATES
                      Average                                       ANNUAL            Monthly          Average        FINANCE
      Date of charges Daily fi:ii)fIce                              PERCENTAGE RATE   Periodic Rate Daily Balance CHARGE
         All                         ver $000                         19.2%           1.6%                $5,283.89          184_54
                                                                                                              Total          $84.54
      NOTE: See other side for important Information
        — — — — — — — — — —

                             Tear elf and mail this coupon with your payment in       JOSEPH M SHUSTER
                             the enclosed ,:!nvelope. Your payment trust arrive       Account Number:                       29 6 . 1
                             by the due (1.1:e to avoid additional finance charges.    Billing data                July 25, 1992
                             Make check r.ayatrie to Sears, Roebuck and Co. and
                             include your account number on the check. 6490           New balance:                        ,32
                                                                                      Minimum due::                      ‘156,00
                                                                                      Clue data:                 August 24, 1992


                             SEARS PAYMENT CENTER
                             P.O.;IrOX 860020
                             i'ASADENA        CA 91186-0020
                                                                                      Address change? Check In box below and
                                                                                      write your new address on the Clack.




                                                                                           r,   flfl

                                                                       EXA IT 21'                                                      DCC00006481
                                                                         188
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 22 of 186 Page ID
                                 #:27234



                                     fT
                                                                                               NTS, r irau, ;vo w     m y hem tle tavo VISA. aat)(1191
                                                                                                  )1. VC' ION PI.A„,4 de.let.hed        the I'lata &molar, w.Sicta tno.
                                                                                                             ,an snarl at axi } lone ! , ,tty, *N. fif.0   daya Meiribtrahip
                                                                                                            f01/ ,truait .0.13. on furtt, , ,



                  FIRM' sf,1ECT VISA                                                            SICN IKE TO ENROLL frnnstcy Cafttlwideli
                  P.O. nox 0560
                 !ANCMSTER,         NH 03108-9560




                      FIR'..“ SELECT VISA                                                                                                       AUG 2_1,199
                      P.O. BOX 9560
                      relANCHESIER, NH 03108-9560


                      JOSEPH M SHUSTER
                      11964 MONTANA AVE
                      LOS ANGELES               CA 90049-5033
                                                                                                                                                                TO
                                                                                                                                                    MIST




                            11111.111111.11                                                110 760
         TACH HE

                                     (ESCRIPTION                                                    PEFERENCENUWER
       07-27'PAYMENT RECEIVED • THANK YOU                                     07-27 74168.512209000001410550                                                  126.16PY
        7-27 CREDIT PROTECTION                                                07-.27                                                                           20.12

        FRrJTECT YOUR GOOD CREDIT t:I.TN =DT A C.TRWE or A PEN! SIGN THE BOX AT THE TOP or YOUR - STATEMENT
        AND PROTECT YOUR ACCOUNT AGAINST UNEMPLOYMENT OR DISABIL/TY. SEE ENCLOSED BROCHURE FOR DETAILS.

                                            FOR CUSTOMER SERVICE ON YOURiFIRST SELECT VISA,
                                                   CALL TOLL-FREE AT 1-8(0-964-6000.




          AVERAGE DAILY   BALANCE             DALY
                                          PERIDOIC AA                                                                            laMANCIE    a__                  .84
                      _,00                ... 60000, 21.90                   CaT LINE
                                                                                            unn3.       *
                                                                                                                         vmearti
                                                                                                                                                          1264_1_6
                                                                            6,200,          MLIJNO cnui

   2                310.54____ 0600,0,0 219u                           c MEW AVAILAIlle         cuDsarm °Alt                ....4Nots
                                                                                                                       "'"Fit."          •                  20.12
   The CAW, A....* 'OAK* mow I p/o.,0•0 fat your conomollalOK WI *MP           912
   hon. Ina and an y What cash advsoc*Cneem yOu us* ael 10,411 Ma you nave Grail
                                                                                           JUL 27,1992 CM,, A4V.OttO.                                         .00
                                                                                            ioNOAUMI PATM011i OUE
   a,m1mOMI. You Cannel LrOO   C.P,ock !ea on row m1.44 .cunt sOM FV64 0.000$                                                                              101.96
   NatiMord C./9m Cud Bank Pkasa mans d voir Tor 'owns relined,.F DilhIq       E r rots.   $          1Z4.1
                                                                                               PAYMENT ME DATE
                                                                     See Reverse Side.
   i•     TV




   re DETACH HERE




                                                                 EXHIBIT 22                                                                                               DCC00006482
                                                                    189
              Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 23 of 186 Page ID
                                               #:27235


                                                                                                                                                                                    Payment Got1
                     nkAmericarcl                                                                                                                  MINI 04 IMF

                                                                                                                                                   08-21-92                                    7-2
                                                                                                                                                    H1(9 AMOUNTOOZE                      qv. MARC(

                                           01
 111111111=. 9                                                    ,                                                                          Q AV= magi laftat PI meMe ef Anti
                                                                                                                                                                                         MINIMUM PONES   r IIUE
                    I cilithiclf OF ADDRESS                                                                                                 'OPTS( Of 7111 IN      ANC L *WO If
                                                                                             5oof                                          41r.(:VO1  TAINT x?CIiI       IN( ham,
       r I I c.rr!oNE NUM9FR HERE                                                                                                           No, rfT.tm? 'f.s.t H ,f31
                                                                                                                                           .PEC4111    tssf ro co f mof
                                                                                                                                                                                                109.00
                                                                                                                                                                                     MAKE, C.HeCTC. PAYABLE
                        114.1Whildadnilddhulanliddd                                                                                                                                  11/1.HIS OF Mar.:1mA N 13
                                                                                                                                                                                     V413 1 1 E YOUR ACCOUN!
                        JOSEPH 11 SHUSTER                                                               BANK OF AMERICA                                                              NUMBER ON YOUR OLE
                        11944 MONTANA AV 305                                                            CARO CENTER                                                                  •      MAIL PAYMENT TO:
                        W LOS ANGELES CA 90049-5026                                                     PASADENA, CA 91127

                                                                                                                                                                                                     0105

                                         90100109000274275402400469998790100109000274275                                                                                     *3** 920038669

                             100 0 0 4 5 2 26E1 1,11°-                5 24 0 2 2 2501: 0 00 0 On , 0 0 0 0 0
                                                                                   RETURN PAYMENr COUPON WrfN YOUR CHECK ANO P rEP ME STATEMENT PORTION BELOW in YOUR PtC04.

                      1 ,01161; , 1Ficntr. c.I ■ ow,r f O1041 OF 1h4 1.1W ssLA$CE MUST SE PISCINE() H PAYMENT WA DATE. tilt MIN4MUM PP' M !eL TL' MET DUN W NOV MEMO IT THE pAimEN'T iI Com

                                                       901            Nmw.         JOSEPH M SHUSTER
                                                                                                                                                      BankAmericard•Statanxjft
• (11.', -, C'o ,                                                            hR,                                                                                         c
   V           A                                                         4700                                            1957                           072568192   08-21-s
                                                                                                    FINANCE CHARGE               MELNII                XI EMI%)               Conroor.fin,       Caossfooilaf Afoot
  ICCOLINT ACTIVITY                                                                                   CALCULATION                el Of Dog*          IsT Till* Mil                  CLYWI        Ponottalf AN. 04

  •'.reaLl laianCe                                                                                       ICO ELIrca           27403                    1.650                        45 32         19.80
                                                                                                         ott3.                                         2.000
                                                                                                          is
                                                                                                           t.vtal                                      2.000
                                                                                                    fiNatewits TO km*

                                                                                                           l000rts                                     1.500                                      18.00
                                                                                                           1008                                        I.000                                      12.00
                                                                                                                 ANNUAL PERCENTAGE RATE (%)
                                                                                                                 Acovi    Vfluakolftbmit              Tda %court                                         109!
                                                                                                     19.80        .00                                  19.8
                                                                                                    BANK CARD CENTER                                   SERE /SLURS
                                                                                                                                                       11001P RES ID
  'IPA VITA                                                                                         P.O. BOX 7042
                                                                                                                                                                           LIMImum
                                                                                                    PASADENA p CA                                      91101               PrerNal Die                   109!
                                                                        ACTIVITY SINCE LAST STATEMENT
                                                                                                                                              TO    Ns,cmji,
                                                                                                                                                     OAT E              CHARGES                   PAYMENTS
           OA                                                                                                                                       AvRIL.ADLE                                   AND CREDIT:

                                            YOUR BANKAMERICA RD ACCEPTED AT SECURITY
                                              PACIFIC ATMS I N 11 WESTERN STATES!
   07;20 53252478                          PAYMENT - THAN K YOU                                                                                                                                          150
   0 27                                    CRED INS PREM, C ENTRAL STATES, OMAHA, NE                                                                                                15 68
   0727                                         ***FINANCE CHARGE***                                                                                                                45 32




                                                                                                                         R LOST OR STOLEN              cALL:
               920038669                                                     PACIFIC TIME                                                      CARO,
                                                                                                                                                                                    6100                 I5U
         STATEMEIT NUMBER                                   -1753 6:30 AM - 4:30 P                                            00-423-3823
   pnoeii               OE                                                                                                     RTELP1.4ONE HUMBER                  TOTAL CHARGES TOTAL PAYME
                                                                                                                                                                                    ANO CR FOI
                                                                                      EXHIBIT- 22                                                                                              CV000-06483
                                                                                         190
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 24 of 186 Page ID
                                 #:27236




                                                                                       9 Aa                          .f.       r4


                                                                                  10 01 tr


                                              'At                                                                                                                                ACCOUNT NUMBER


                                                                                                                                                                            1111111111978
                                          OUSLPH                 SHUSTER
                                          APT 305.                                                                                                                        PAYMENT SHOULD BE
                                          11944 MONTANA AVE                                                                                                                              DECEIVED BY
                                          W LOS ANGELES, CA 90049-                                                                         26                                        AUG 03 92
                                                                                                                                                              sik r5214 .1 cou.oN wtt0 •()!:31 BA , Mt ft I
                                                                                                                                                             '.s* •CCOUN/ Nt i 4f8Cri Oya OUR C. f0 CA

                                                                                                          t • VI: li'                            ,f AI             • c,     , ,,, "6 tMEftt              PkrASE F NIFFI
                                                                                                         AC f.o v w                            eALA...:-.k                .4 ,.:,,.. ■ ,..)Vi             MCA:NT PAM


                                     IFILbROADWAY                                                        4,1%              .                     99.99                         15.00
                                                                                                        HOM                                    2276.32                        110.00
                                    P.O. BOX 52094                                                      TOTAL:7- 2376.3                                                       125.00
                           PHOENIX, AZ. 85072-2094

                                                                                               9V *43*      WA106 ,A!                     1AACt



                                              003738319787 0012500023763120001500000999137


                                                                                                                                                                                                          ,   ,0 ,o0,tg
                           ,                            ,, ir                                                                                                         (:1-16 6C.E S
                                                                                                                                                                                                          6 CREW S

                      —        —                         —              —    — YOUR CHARGE ACCOUNT                                                            -—————                                               -      —
        0611                        0207517921                              ECTRONIC SERVICES                                                                             99.9 9
           - -    - _ -     - -YOUR HOMEMAKER ACCOUNT-----                                                                                                                                                                - -
        03214092031 573 AUDIO SYSTMS & COMPNTS       707.00
        0170212' 11668 161 MAIL PAYMENT-THANK YOU                                                                                                                                                             210,00

          TR  MING 11-us SUMMER? DON'T FORGET YOUR CARD - -
          VOL   BROADWAY CARD IS ACCEPTED AT WEINSTOCKS, EMPORI   AND
          BR' 'NAY SOUTHWEST CONVENIENTLY LOCATED THROUGHOUT
          CA IF IRNIA, ARI'ONA, NEVADA, NEW MEXICO, UTAH AND CO ORADO.




                                                                 .




                                     10                                                 ACC        NI       J OF t4                                            •A YU( 00     SHOW.°
                          CfC1E
                           Esa 16
                                                     sitkl. _                   Q2,                                                             7                          004  6
                                                                                                                                                                                                      Na o 9 a
        1: 1 ,, , , ,,G

          ,"
         A C C T,
                 ,             „,...
                                6 6LANCE
                                                                 ._ QS_
                                                                C K A PC: 4 I
                                                                                             P A y ut N s
                                                                                             A C 6EW M
                                                                                                                                AK A
                                                                                                                                  O AK V
                                                                                                                                OP.L . N C E
                                                                                                                                                      4NANCE
                                                                                                                                                      CHARGE
                                                                                                                                                                                    Ai

                                                                                                                                                                                     "A''
                                                                                                                                                                                                       NolymAJ6 VAIMEN I
                                                                                                                                                                                                              Now not
          HA                                   ,OQ                   99,99                              .0.0                              .00                 .0#                     99,                          15,J)0
        -40M                   1743.31                           707.00                        210.00 2182.21                                            36,                 2276A                              110,00
        rgr                    1743,31                           806 .9'                         1 0 . 2192.21                                           36                                                     i25.0d
             • ,*                         cay at .0.1 1,0 n,r1.01.,M Vit y ln.st S t' s                          ,             ••, 7S St 51,                 0 0
        N E W BA AniCE, Of                                       95 *4*                                     ,•           ...wet 30 ,r,                   , Ir                                   • 1,,         MS
                 C p,.                     Claie s•     0100 ■As A*. a*. .001   te A•A                    C.A0146 AAA1                 ISs                                                        ts catsi2.1.4
                          • es,I,    ma         ,..et,ce                    e AMCE                                •
                                                                                                                  of
                                                                                                        10,00,004‘. 01,*  1   GS%               3,,,t6t.mts                                      is     ALL
                                          .         anlourts 5* • c         *ss 04            N/A           ,         45. 00.4tc* pat ca•iaga              ,t                                       IS 80%
        ..^4 N/A
             N/A                                                             iv B +1.nsse404 0 ,6,9* of 50g Pitt     '.0' S7iorp Attin ,1 44 tit Iw,
                                                                            NOI10E. Sow trolo 5. ode 14'                     f 00nAlti




                                                                                                  EXHIBIT 22                                                                                                                    DCC00006484
                                                                                                     191
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 25 of 186 Page ID
                                 #:27237

                                                                                                                                                                                                       ruct_t ,)

                                                                                                                               1111111111.11 •■■
         SECUPITY PACIFIC BANK, N.A.
     BANKCARD SERVICES                                                                                                                                                    00
     PO BOX 2930
     PHOENIX, ARIZONA 85038                                                                                                                                                                                        400 RRB                   7 13 3
                           •                        ..   „          •    "                   .   .
           ,,aa , u,71 ,«                                                                                         tv.,,m                         Imrrili                 1'19 14 A,                    )11tAa aim              Rana Erskti
                                                                                                                  t ,... t ■ no'                  ‘littnirom         4- 4 nelirliitt    =               l'Imelti
                                                                                                                                                   flw.iiii Ne          \ mow%                             Nce

                                                                4100 01061.18                                    OB/1%'92                               50.00              $0.00                         00.0


                                                                                                                                            iiiiittikallItiothditimiddiatimisidifo,111,1                                                             wow
                  BANKCARD SERVICES                                                                                                               JOSEPH SHUSTER
                  BANKCARD PROCESSING                                                                                                             11944 MONTANA AVE APT 305                                                          m..,
                  PASADENA CA 91052-0002                                                                                                          LOS ANGELES CA 90049-5026



     e0604L2e                                                1 524022250 1:                                           00000o/ 1 00000e

          3 vh•ra- •.4..
                                                                                                               47 2800-



           1,:totitt   7.40that                                                                                                    Ma Ikuhle           Nqin
                                                                                                     CreJitlim                                                            tiling Date                     hyment Due Dye                   " I":"olue
                                                                                                                                                                                                                                         r4nt,
                                                                                                                                   Ciedit            !VIM-it Cycle
                                                                         410                                                   51438                                      7/20/                              08/14192                                . 00
                                                         it nc Nioniber                                           •‘„11 iri Sinir      1-1,4 SlalerlIVIrlt                                                                          4.(120(411
             8,


      07                079                    7407000JG0029BYW3                                                      PAYMENT - THANK YOU                                                                                                100.00 -
                                              "FINANCE CHARGE" '                                                                                                                                                                          16.95




                                                                                                                                                                                                  _.;
                                                                             ,
                                                                                                                                                                                _                ■      I.                 .
                  .,   ...o    ; ,,t'L'•..'".;%f.        4    4,1
                  PMMAIS         bLae                        1nLii PasTA,                                 C.                                hamuttaakamn                    r

                   $114 4.23                                            5100.00                  f I044.23                                       $0.00                   $0.00                          816.95061.
           A ft   amount fah m cd I w- a rnsm.A I/                               (       is a I„ ftUi4 tn a craz)Ait I—arance.

                                     TO OBTAIN THE MOST CURRENT BALANCE, CREDIT LIMIT OR LAST
                                     PAYMENT, CALL THE LOCAL PHONE NUMBER ABOVE. USE YOUR ACCOUNT
                                     NUMBER AND THE LAST 4 DIGITS OF THE PRIMARY SOCIAL SECURITY
                                     NUMBER. PRESS 1 AND THEN 4.    IT'S EASY TO USE!


      scridinquc...sto,                                  BANKCARD CUSTOMER SERVICE, P 0 BOX 52327, PHOENIX AZ, 850 72
                                                                                                                                                                                                                                                 •
                                                                                     ,...ts 31KM                                                                                            1 , t fl         ,      lnce        Averota.nalac t
     Al t"1111"0
              1101OC WMt (N)                                                         01.567                                                                                                             , hai If                  Corrrni 00
      U;;II,Nai, A.AlNIM, PARt.A.NtAt.f. NA 1 l ( %)
   .--,                                                                              0   18 • 80
    MM AI PERCENTACE RATE (%)                                                        018.80                                                                                                                      0.00               1081.74
                                                                                                                 it       I1 RI             S) In 1.cc.ocNr-
             I
                                                                                                                             EXHIBIT 22                                                                                                                DCC00006485
                                                                                                                                192
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 26 of 186 Page ID
                                 #:27238




                                               DE SCRIP UON                                 00 , (
                                                                                                                REFERENCE NUMBER                         Cn--PEc.r   Pf PAY1011411


               ATE PAYMENT CHARGE                                                          01-08!                                                                      12.00
          A FRIENDLY REMINDER...HE HAVE NOT YET RECEIVED YOUR:PAYMENT.                                                     PLEASE PAY THE A              T DUE TODAY.

                                                              CA1CH THE SUPER BOWL ON                A   016; SCREEN         IV!




                                                                                                                             c- I




               cf.
          AvERAGE                 LACNATHLN
                                                                                               ACCOUNT NUMBER
        DAILY BALANCE          PEUOOPC FLAT

        —   1,070.2 1.6500%19.80%5                                       7.6
                 .0Q 1.6500419.80%$                                       .00       -omoa                  P.S ,
                                                                                                                11/41(11
                 .00 .0000' 0.00$                                         . 00, .                                          7.00
                                                                               r            cAllovu                OLAI Dos cy
    SEND INDIA:US$ TO                                                                           50                     67.00
                 CIRCUIT CITY STORES, INC.                                      wmWMO,                          UN PA TINNTBIA


                 P.O. BOX 11768                                                    In.GI             34$             134.00
                 RICHMOND, VA 25230                                                 CLOSOAD DAT2           ITATNENT LA,Ak DATE

                nV" TELE"0"E" 800-477-6761                                      JAN    08,199ZFE0 02,1222
               4 011E:   Ste   ROVO, S4   Sib! I. IrEponsn*    1,000f1                 To sYoNI AA ed0 halal Finsoos Charge pe r .iite New Etafffinctr by P./ANNA Duo Cow

    •SEE E S




                                                                           EXHIBIT 22                                                                                          DCC00006486
                                                                              193
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 27 of 186 Page ID
                                 #:27239



                               JCPenney                                                                     C2ustott;er Se/vice
                                                                                                       is Our Number One Priority

                                Account Statement
                                                                                                       ACCOUNT NUMUER 111111111 37-8
                                P.O. BOX 4444
      NokKe■
                                BUENA PARK CA 90624                                            CURRENT BILUNG DATE 06 - 13 - 92
      SWIY                      (114) 228 - 1200
   ! PAGE 01 OF 01                                              to Av    A01410,01 FinalKe Char9e., Pay New EllianCe   Bv It• 07-09 ' 92


   ; Oats                         nc                   1, anie TvCC                   McnIOYSCM44yet


       06-                                               LATE CHARGE


                      OUR ACCOUNT I PAST DUE. PLEASE PAY THE AMOUNT DUE OF                                                           $48.80
                      ODAY.




     BALANCE            PREVIOUS                     PAYMENTS           + FINANCE             + CHAR GES      +NEW                    ',MUM
     SUMMARY            VALANCE                      ANL) CREDITS         CHARGE                               BALM=                  YMENT

      MAJOR                       98.79                        .00              1.57                    .00          100.36                48.80

      OTHER                         .0 0                       .00               .00                    .80                                 .00
      TOTAL                       98.79                        .00              1.57                    .80                               48.80
                                  char     le Pr,'      ". rerfr,t Ce It' rrtant Otomustion and fiu ,arkir,   et
                                                         .TN             kwrltmi          ANNUAL     ON                 vOr41101      ANNUAL
     SAL                     ON                          aALANCE         i t AiODIC       PERCENTAGE BALANCE            ` E "OfaIC    PERCENTAGE
     TYPE                    BALANCE OF    AS OF         ii , fiv $      PAIEiSI%
                                                                                          RATE(S) %  OYER E             '`Al " *)*    RATE(S) %
      M           B             95.44       06 - 92        ALL             1.65               19.8




                      Your Finance Charge Method is (see reverse)

                                                                                      PLEASE DETACH AND RETURN TWS STUB WITH YOUR PAYMENT


                                                                                                  ACCOUNT MOANER: II                 S7 - 81

                                                                                      PSSYMENT SHOULO REACH HS EY:   07-09-92
                                                                                                                                         WRITE
                                                                                      BALANCE                           MINIMUM          AMOUNT
                                                                                      TYPE                                               PAO
      Indicate Address/Telephone Changes Here

        CAt•. &a*. Ey C.d.
                                                                                        MAJOR              101.16             48.80
        Mosses*
        km Cods
                                                                                      TOTAL                101.16             48.80

                      ZIP + 4 PRESORT
                      JOSEPH SHUSTER
                      11944 MONTANA AV 305                                                4580 PARADISE BLV NW
                      LOS ANGELES CA 90049 - 5026                                         ALBUQUERQUE NM 87201                                 66


                   0004562                                     198                    6741347378 30 00048800010116

                                                                        EXHIBIT 22                                                                  DCC00006487
                                                                           194
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 28 of 186 Page ID
                                 #:27240


   YOUR PHONE SERVICE WILL BE TEMPORARILY DISCONNECTED
   UNLESS WE RECEIVE PAYMENT OF '0 .1 JR                               PAST   DUE BILL BY                       AUGUST 14,1992
                                                                                          ::f 111 ■11 1:0DE
                                                                                                                 62 01325 00580
            (40            C'.7,1iforlIi=i                                                PA I E.:
                                                                                          1(•(2
                                                                                                         820-2446
                                                                                                                 8-07-92
                                                                                          AM I rilic
                                                                                                             130.00
                                                                                               01 1717 8202446 880309 03
       ri Nu'     it 'I! , 1      \if                     I , •    ,              ! !It            I  rif )1111111m cr I)
                RN' 11 1 11%1\1 1       q' 1                      wi..10 if , 1


     yui , l; 51   F     EmrofiAfm I . DISC' 'WU'          011        EE REQUIRED TO PAY THE FOLLOWING
     tAu0E.s IN AUDI I ION 10 1HE FULL M.101..crl PuE !:1:f CL:E I I IE TELEPHONE WILL BE RECONNECTED:

                         IIEGONNEC I CNA!                                23.00
                                     DEPOSi I

   10 AVOID 'THESE MCI RONAL CHARGES, FL                     PAYMENT TODAY. AN ENVELOPE IS ENCLOSED FOR
    nuR CONvEt HENCE. ALLOW 5 DAYS FOR upc:Firi Or MAIL cR CONTACT A COMPANY REPRESENTATIVE AT THE
   CUSTOMER BILLING CEM ER TO OBlAIN THE fE,'• I IFST IN-PERSON PAYMENT LOCATION BY CALLING TOLL FREE TO:
   PLEASE BRING THE ENTIRE NOTICE WHEN PA,/No IN PERSON.                                                      1 800 223-6177

                                                        PERrIANEN T DISCONNECTION

   ACCOUNTS ARE IEMPOFIARILY LASCONNEC I Ell re.)11 (JULY SEVEN CALENDAR DAYS. AFTER WHICH TIME THE
   SERVICE Is PERMANEN1Ly DISCONNECTED. uNLF: , :s SPECIAL ARRANGEMENTS ARE INITIATED BY THE SUBSCRIBER
   AND AGREED TO BY THE COMPANY. IF THE SE livi(:E IS PERMANENTLY DISCONNECTED, AN APPLICATION FOR NEW
   SERVICE WILL BE REQUIRED, WHICH WILL REQUIRE rAvinc; NEw SERVICE CONNECTION CHARGES IN ADDITION
   TO THE DELINQUENT AMOUNT DIJE AND THE rirrnsiT BEFORE SERVICE WILL BE INSTALLED.

          72517 82002446 880309 702620 7 00013000 6 08 11




                                               "fillS   LOWER PORTION Wfi47.51:iiii3AS;MENT

          01 1717 8202446 880309 03                                                         AMOUNT DUE S


                                        GTE CALIFORNIA
                                        PAYMEN PriOr..:Ef'zSING




                                               SHUSTER, JOS.             71?
                                               11944 MONTANA AV, APT 305
                                               LOS ANGELES CA 90049-5026




         72517 82002446 880309 702620 7 00013000 6 08 11

                                                                                                                       SEE REVERSE SIDE
                                                                                                                       FORM 90003489 (4.911




                                                                       EXHIBIT 22                                                             DCC00006488
                                                                          195
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 29 of 186 Page ID
                                 #:27241




                                                                       DATE DUE
                    CE NT URY                                        08/13/92
               .,*7 CABLE                                           CENTURY CABLE
             2939 NEBRASKA AVENUE                                    COMMITTED TO
             SANTA MONICA CA 90404-4028                               COMMUNITY
                                                                       SERVICE!

   JO       PLEASE RETURN THIS TOP PORTION ONLY, WITH REMITTANCE TO --N
   21                                                                                    PLEASE MOICATE
                                                                                        AMOUNT ENCLOSED
   00                                                                  000-07-92-A-C
   0
   10           xxl ZP 7.26440.DS
   24            JOE SHUSTER                                   CENTURY CABLE
   1             11944 MONTANA AVE APT 305                     PO BOX 10201
                 LOS ANGELES CA                                VAN NUYS CA 91401-0201
                 90049-5026




        08614 213457 01 5             8 010302

                                ACCOUNT NUMBER      BILLED FROM BILLED TO    DATE DUE   imc i=1"11
   CENTURY CABLE
   2939 NEBRASKA AVE        08614-213457-01-5        8/01/92 8/31/92 08/13/92             7/27/92
   SANTA MONICA, CA
                                                    BILLING/REPAIR: 453-2233
   FOR- 11944 MONTANA AVE APT 305
                                                    MON-FRI 7AM-9PM AND SAT 8AM-9PM
    6/30           PREVIOUS BALANCE       103.02    LOBBY: MON-FRI 8AM-6PM, SAT 8AM-4:30PM
    7/11           PAYMENT - THANK YOU 103.02-      **RATES MAY INCLUDE FRANCHISE FEES
    8/01-   8/31   BASIC SERVICE         24.20      WHERE APPLICABLE*.*
    8/01-   8/31   ADD'L OUTLET           4.75
    8/01-   8/31   DISNEY TRAP         X FREE *
    8/01-   8/31   CONVERTER RENTAL       2.75      OUR BUSIEST TIMES ARE MONDAYS
    8/01-   8/31   CONVERTER RENTAL       2.75      AND THE DAY AFTER BILLS ARE
    8/01-   8/31   VCR                   FREE *     DELIVERED. OUR LEAST BUSY DAYS
    8/01-   8/31   ADD'L PREM. SVC        5.72      ARE WEDNESDAY AND THURSDAY. IF
    8/01-   8/31   PREMIUM SERVICES      62.85      YOU HAVE A BILLING QUESTION,
                     SHOWTIME,DISNEY                PLEASE TRY TO CALL DURING THESE
                     CINEMAX                        LESS BUSY TIMES.
                     HBO
                     MOVIE CHANNEL
    7/31           AMOUNT DUE             103.02
            AUG 01 THRU AUG 31, 1992




                                                 EXHIBIT 22                                               DCC00006489

                                                    196
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 30 of 186 Page ID
                                 #:27242




                        1 .1/7.:   t   ••                          ■ ‘•   ,•11.1i   rrvr
               "   p.                          -   •      ••   i




      JOSEPH M SHUSTER
      11944 MONTANA AV 305                                                      ACCTIT 4-04-61024-11944-00-0305-3-01

        BILL ISSUE DATE 01/09/92
        AMOUNT OF PREVIOUS BILL                                           112.54
        PAYMENTS SINCE   11/04/91 S                                       112.54-
    ELECTRIC RESIDENTIAL                       RATE R1A                         SERVICE DATES
                                                                           10/31/91   TO 01/07/92
        SERVICE CHARGE                                          2 MONTHS             X   $    0.30/MO     $         0.60
        ENERGY USED                                            1,850 KWH             X   $    0.06624             122,54
        ENERGY COST ADJUSTMENT                                 1,850 KWH             X   $    0.02520              46.62
        LOW INCOME SUBSIDY CHARGE                              1,850 KWH             X   $    0.00083               1.54
                   METER 01-ELECTRIC TOTAL $                                                  171.30




                  CHARGES IMPOSED BY NON-DWP AGENCIES
        CITY UTILITY TAX                                          171.30 X   10.0%                        $        17.13
        STATE ENERGY SURCHARGE                                 1,850 KWH X $ 0.00020                                0.37
                                   PLEASE PAY THIS AMOUNT NOW DUE ■                                               188.i112)
                                            METER USAGE INFORMATION
     METER TYPE           METER NUMBER                    READS CURRENT                      PREVIOUS CONSTANT   USAGE
       01     E 6-596677                                                     78177              76327       1      1850



      METER               DAYS                               USAGE                                DAILY AVERAGE
              THIS YR        LAST YR                   THIS YR     LAST YR                      THIS YR    LAST YR
        01         68           67                        1850        2118                           27         32 KWH




                                                         EXHIBIT 22                                                        DCC00006490
                                                            197
   Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 31 of 186 Page ID
                                    #:27243




;AN V10EN E-BUNDY OFFICE
1.1q80 SAN VICENTE BLVD
.0S ANGELES CA 90049
                                                 IA*

                                                 **I             JOSEPH SHUSTER
                                                                 11944 MONTANA AVE APT 305
                                                                 LOS ANGELES CA   10049-5026
                                                                                                                                               1. 7

    (310) 247-2800

                                               1,4 o
                                                                                                                tium(IFIt

             JUt4 19 92 - JUL 21 92
             AUG 19 92
                                                                                                   7,   4
                                                                                                                               11111   ■11111N
                                                                                                                      t f.



  CHECKING        ACTIVITY

                         TYPE     DATE        AMOUNT              TYPE       DATE            AMOUNT                          TYPE       DATE              AMOUNT

                         1154     JUL06        150.48             1186       JUL02           210.00                          1202m     JUL13              200.00
                         1177*    JUN19        250.00             1188*      JUL01           100.00                          1203      JUL13              103.02
                         1131).   JUN25       1245.00             1190*      JUL09           100.00                          1226*     JULI4               31.30
                         11834    JUN29        250.00             1191       JUL06            61.24                          1227      JUL16               59.32
                         1184     JUN23         98.79             1192       JUL06          1423.00                          1228      JUL20              131.44
                         1185     JUN24        125.44             1193       JUL20          1211.00                          1229      JUL20              150.00

                  ELECTRONIC ACTIVITY

                  COMPANY                                 TRANSACTION           COMPANY IDENTIFICATION                                 POST
                  NAME                                    DESCRIPTION           DATE    NUMBER                                         DATE               AMOUNT
                  HARMER C OMANI C A                      PAYROLL DO                920619 XXX-XX-XXXX                               JUN19               2627.60
                  WARNER COMIUNIC A                       PAYROLL OD                420703 XXX-XX-XXXX                               irscor              2627.60   f
                  WARNE   01) 14,NI C A                   PAYROLL DO                920717 XXX-XX-XXXX                               JU   Cl7 _          2627.60

                  DAILY BALANCES

                  DATE              BALANCE        DATE           BALANCE            DATE                   BALANCE             DATE                     BALANCE

                  JUN19            24173.84       JUN29          22454.61            JUL06              23131.49                JUL16                   22643.85
                  JUN23            24075.05       JUL01          22354.61            JuL09              23037.49                JUL17                   25271.45
                  JUN24            23949.61       JUL02          22144.61            JUL13              22734.47                JUL20                   23773.01
                  JUN25            22704.61       JuL03          24772.21            JUL14              22703.17

                  CHECKING ACCOUNT SUMMARY

                  BEGINNING BALANCE . .          . . .     .           • •     * • *         • •             • • • • •                                  21796.24

                  TOTAL Of          3 DEPOSITS                                                                                                           7882.80

                  TOTAL Of         18 CHECKS/OTHER DEBITS.                                                                                               5906.03

                  SERVICE CHARGE. . .                                                                                                                        .00

                  LUDING BALANCE. .




                 R01E ATMS FOR EASIER BANKING. NOM YOU CAN USE YOUR READYDANKINO CARD TO GET
                 CASH AT BANK OF AMERCIA YERSATELLER ATMS HITH NO NETHORK CHARGE.




                                                          EXHIBIT 22                                                                                  DCC00006491
                                                             198
                                             •
                                                      661.
Z6t79000000G                                      ZZ 118IHX3
                                         + Z5•t0Pri                  +    15-8065
                                                                     •    8C-VOC
                                         •       00.001.
                                                                     •    00•1ZI
                                         •       00.00t
                                         •       00.01Z              •    ZO•C01
                                         +                           •    00:i
                                         + 69•501                    •    001.1L
                                                                     +    C9.ZIC
          *       18-8060C 1 1411.       • 00.5 17Zt
                                                                     +    05.Z 171
          + ZC-9LCC                      + 5 17•CL
                                         + 00•511                    •    99•65
          + ZS-10C 17                                                 •   00..I
          + 89-58C 17                    + E8.55
                                         • 00.05Z                     +   00-05
          + L5•8065                                                   +   VL.OZI
                                     1   • LZ•9Zt
            C6-CLZ17
                                         + 8t7.051                    +   00.00Z
          +  16.L0 17C                                                    09.L8t
                                         + ZO.001.                    •
          + 176.t75Z5                                                 •   tt.98t
                                         + 0 17.111
                                                                      +     0•IC
          * • 0                          + 00-0C/7"
                                                                      •   00.00Z
                                                                      +   VZ-5 111
          *       ZC.9LCC                                             •   5L-1, 17
          + 00•051                                                    •    tZ• 1751.
          + 17 17•LCL                    * 09.58C 17
                                                                      •   90.LZ
          + ZC•65                            •   00.11Z1
                                                                      •   50L3
          + OC•IC                            •   6L•86
                                                                     +
          + ZO.001                           •   00-05Z
                                                                     +    00-00Z
          + 00-00Z                           •   00-t7tZ
                                                                     •    Z 17-15
          + 00.11,Z1                         •   L5.96
                                                                     •    LZ•9ZI
          +                                  •   ZZ•9Zt
                                                                     •    61..tfl7
          + 172.'9                                O•C01
                                                                     •    o0-t1
                                             •   00.00Z
                                                                      +
                                             •   00.001
                                             •   5L-08
                                             •   00• 17C
                                             •   00•051
              + £6.£L                        •   o0•c1
                                                                      • 1"6. 175Z5
                                                                      • 00•11Z1
              • 15.181                       •   £86Z
                                                                      • 00•05
              + 00.LL
                                                                      • OZ-L 17
              + OO.ZC
                                                                      • 00.00'
              • 00•L61.
                                                                      • 00.00Z
              • 60•L9
                                                                      • 00-00Z
              • 00•86                        •    16•L0         3J
                                                                      • 00.05"
              • 69.LZ1                       •    00.11L              • GZ-5L
              + 00.006                       •    00• 17 ,11.
                                                                       • 00.005'
              • 00•05                        •    £0 •Z IC
              •                                                        • 00.9C
                 9.59 17                     •    00 •85               • 5L-51t
              • LZ.5 1'                      •    LL.LOL               • L5.19
              + 00•1.121                     •    00 •CZI"
              •1                                                       • L9. 17V
                7L•011.                      •    lZ • 001
              •                                                        • 05•017
                00•£6 171.                   •    06•
                                       #:27244
      Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 32 of 186 Page ID
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 33 of 186 Page ID
                                 #:27245


                                                                       11928 Darlington Ave
     Joseph Shuster                                                    Apt. 102
     1)944 Montana Ave                                                 Los Angeles, CA 90049
     Apt. 305                                                          May 27, 1986
     Los Angeles, CA 90049
     May 27, 1986


     Dear Joe,
          Your commission check to me dated May 15, 1986, which we thought had gotten
     lost in the mail, finally arrived. As you have given me another check to replace
     this one, I am returning this one to you as you requested on the phone.
          To avoid future conflision, please make a notation in your checkbook that this
     one was returned to you.
          Enclosed also are 3 copies each of the two documents you requested as a favor
     to you,( I made a special trip to have these xeroxed for you). One document is
     dated April 21, 1979 and the other March 23,1983, covering your agreement to pay
     me 20% of all bonuses and /or increases in lifetime income from D.C. Comics and/or
     Warner Communications which I have secured (and shall in the future secure) on
     your behalf. I hope these copies will be helpful to you.
          From now on, would you please mark your commission checks to me,"Re: percentage
     fee for income increase negotiation", or if applicable, "Re: percentage fee for
     bonus'', rather than putting the inaccurate "manager's commission", Or "agent's
     commission", as you have in the past?
          This will accurately state that I only negotiate bonuses and income increases
     for you on your lifetime income, and do not seek employment for you.
          darmest regards.


                                                   As ever,




                                                              Joanne Siegel

     P.S. I will go to the W.L.A. postoffice to mail this with signed receipt requested
     to make sure your enclosed check and the documents reach you safely.




                                    EXHIBIT 22                                       DCC00006493
                                       200
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 34 of 186 Page ID
                                 #:27246




                 EXHIBIT 23
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 35 of 186 Page ID
                                 #:27247




                                 EXHIBIT 23
                                    201
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 36 of 186 Page ID
                                 #:27248




                 EXHIBIT 24
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 37 of 186 Page ID
                                 #:27249




                                 EXHIBIT 24
                                    202
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 38 of 186 Page ID
                                 #:27250




                 EXHIBIT 25
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 39 of 186 Page ID
                                 #:27251




                                 EXHIBIT 25
                                    203
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 40 of 186 Page ID
                                 #:27252




                                 EXHIBIT 25
                                    204
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 41 of 186 Page ID
                                 #:27253




                                 EXHIBIT 25
                                    205
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 42 of 186 Page ID
                                 #:27254




                                 EXHIBIT 25
                                    206
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 43 of 186 Page ID
                                 #:27255




                                 EXHIBIT 25
                                    207
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 44 of 186 Page ID
                                 #:27256




                                 EXHIBIT 25
                                    208
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 45 of 186 Page ID
                                 #:27257




                                 EXHIBIT 25
                                    209
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 46 of 186 Page ID
                                 #:27258




                                 EXHIBIT 25
                                    210
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 47 of 186 Page ID
                                 #:27259




                                 EXHIBIT 25
                                    211
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 48 of 186 Page ID
                                 #:27260




                 EXHIBIT 26
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 49 of 186 Page ID
                                 #:27261




                                 EXHIBIT 26
                                    212
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 50 of 186 Page ID
                                 #:27262




                                 EXHIBIT 26
                                    213
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 51 of 186 Page ID
                                 #:27263




                                 EXHIBIT 26
                                    214
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 52 of 186 Page ID
                                 #:27264




                                 EXHIBIT 26
                                    215
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 53 of 186 Page ID
                                 #:27265




                                 EXHIBIT 26
                                    216
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 54 of 186 Page ID
                                 #:27266




                                 EXHIBIT 26
                                    217
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 55 of 186 Page ID
                                 #:27267




                                 EXHIBIT 26
                                    218
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 56 of 186 Page ID
                                 #:27268




                                 EXHIBIT 26
                                    219
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 57 of 186 Page ID
                                 #:27269




                                 EXHIBIT 26
                                    220
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 58 of 186 Page ID
                                 #:27270




                 EXHIBIT 27
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 59 of 186 Page ID
                                 #:27271




                                 EXHIBIT 27
                                    221
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 60 of 186 Page ID
                                 #:27272




                                 EXHIBIT 27
                                    222
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 61 of 186 Page ID
                                 #:27273




                                 EXHIBIT 27
                                    223
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 62 of 186 Page ID
                                 #:27274




                                 EXHIBIT 27
                                    224
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 63 of 186 Page ID
                                 #:27275




                                 EXHIBIT 27
                                    225
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 64 of 186 Page ID
                                 #:27276




                                 EXHIBIT 27
                                    226
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 65 of 186 Page ID
                                 #:27277




                                 EXHIBIT 27
                                    227
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 66 of 186 Page ID
                                 #:27278




                                 EXHIBIT 27
                                    228
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 67 of 186 Page ID
                                 #:27279




                                 EXHIBIT 27
                                    229
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 68 of 186 Page ID
                                 #:27280




                 EXHIBIT 28
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 69 of 186 Page ID
                                 #:27281




                                 EXHIBIT 28
                                    230
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 70 of 186 Page ID
                                 #:27282




                                 EXHIBIT 28
                                    231
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 71 of 186 Page ID
                                 #:27283




                                 EXHIBIT 28
                                    232
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 72 of 186 Page ID
                                 #:27284




                                 EXHIBIT 28
                                    233
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 73 of 186 Page ID
                                 #:27285




                                 EXHIBIT 28
                                    234
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 74 of 186 Page ID
                                 #:27286




                                 EXHIBIT 28
                                    235
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 75 of 186 Page ID
                                 #:27287




                                 EXHIBIT 28
                                    236
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 76 of 186 Page ID
                                 #:27288




                                 EXHIBIT 28
                                    237
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 77 of 186 Page ID
                                 #:27289




                                 EXHIBIT 28
                                    238
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 78 of 186 Page ID
                                 #:27290




                 EXHIBIT 29
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 79 of 186 Page ID
                                 #:27291




                                 EXHIBIT 29
                                    239
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 80 of 186 Page ID
                                 #:27292




                                 EXHIBIT 29
                                    240
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 81 of 186 Page ID
                                 #:27293




                                 EXHIBIT 29
                                    241
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 82 of 186 Page ID
                                 #:27294




                                 EXHIBIT 29
                                    242
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 83 of 186 Page ID
                                 #:27295




                                 EXHIBIT 29
                                    243
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 84 of 186 Page ID
                                 #:27296




                                 EXHIBIT 29
                                    244
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 85 of 186 Page ID
                                 #:27297




                                 EXHIBIT 29
                                    245
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 86 of 186 Page ID
                                 #:27298




                                 EXHIBIT 29
                                    246
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 87 of 186 Page ID
                                 #:27299




                                 EXHIBIT 29
                                    247
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 88 of 186 Page ID
                                 #:27300




                 EXHIBIT 30
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 89 of 186 Page ID
                                 #:27301




                                 EXHIBIT 30
                                    248
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 90 of 186 Page ID
                                 #:27302




                                 EXHIBIT 30
                                    249
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 91 of 186 Page ID
                                 #:27303




                                 EXHIBIT 30
                                    250
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 92 of 186 Page ID
                                 #:27304




                                 EXHIBIT 30
                                    251
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 93 of 186 Page ID
                                 #:27305




                                 EXHIBIT 30
                                    252
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 94 of 186 Page ID
                                 #:27306




                                 EXHIBIT 30
                                    253
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 95 of 186 Page ID
                                 #:27307




                                 EXHIBIT 30
                                    254
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 96 of 186 Page ID
                                 #:27308




                                 EXHIBIT 30
                                    255
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 97 of 186 Page ID
                                 #:27309




                                 EXHIBIT 30
                                    256
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 98 of 186 Page ID
                                 #:27310




                 EXHIBIT 31
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 99 of 186 Page ID
                                 #:27311




                                 EXHIBIT 31
                                    257
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 100 of 186 Page ID
                                  #:27312




                                 EXHIBIT 31
                                    258
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 101 of 186 Page ID
                                  #:27313




                                 EXHIBIT 31
                                    259
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 102 of 186 Page ID
                                  #:27314




                                 EXHIBIT 31
                                    260
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 103 of 186 Page ID
                                  #:27315




                                 EXHIBIT 31
                                    261
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 104 of 186 Page ID
                                  #:27316




                                 EXHIBIT 31
                                    262
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 105 of 186 Page ID
                                  #:27317




                                 EXHIBIT 31
                                    263
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 106 of 186 Page ID
                                  #:27318




                                 EXHIBIT 31
                                    264
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 107 of 186 Page ID
                                  #:27319




                                 EXHIBIT 31
                                    265
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 108 of 186 Page ID
                                  #:27320




                  EXHIBIT 32
      Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 109 of 186 Page ID
   4-06 I 2:08pm Fron-
Aug-l                                   #:27321
                                                                                   T-935 P.003/006t-542



                                     IOU{TvErvuRE AGREEMET{n

         AGREEMEM
                rnadeasof Novernb                  pacificpicrures
                               erzj,200lbyandbetween
         Corporation ("PPC")with officesat23852PacificCoastHighway,Suite555,Malibu,
         CA 90265; tel.(3lO) 589-5151;  fax:(310)SE9-51i2  andJeanA. peavyandhersoo
         Mark wancn Peary(tklaMark wanen peary)(individualtyandcollcctively,
         'Claimants")located
                             at 51 CarninoCabo,Santepe,NewMexicog750g;tel./ fax: (505)
         466-4551, regardingthcforoatiouof r joint venfiuefor thcpurposeof rerrieving,
         enforcingandoxploitingall of JoeShuster'e, andhisestatc'srights,glaims,copyrights,
         property,utle andintercstsin andto JoeShuster'screations(hereinafler,suchrights,
         proPertyaudclairns,ue individuallyandcollectivelyrcforrcdto astbe"Rights,').

                t.       Thc Rightssballincludcwitboutli'nitetior\ all currcntandfuturerights,
         claiuts,title,copyrighteandintereetsin andro eachchfiracter,  s0oryclement,andindicia
         ossociated  wit[ andall rightsro proceedsfrorn,,supERlVIAN,,,   or the !.supERIv[AN'
         storiesandcomicbooks,suchas,withouttimitation,,,Superman,"        ..clark Kenl" ,T.ois
         LaDe,""Iimmy Olsen;lf"I-exLuther,"'T,anlLan$,"..Mr.     Mxy4plk,",,Suporboy,r,
         "supergirl,"'"IheDaily Planet,""Kryptoq" "Kryptonitci'and.,smailville."

          i r.r'. 2, ,    In considerationof tbemunralcovenanlscontainedhirein and othor good
         andvaluabtqconsideration,PPC and Glaimaqtshercbyform a joint veo$rc (rhe
         "V€nhrc") to investigate, retrieve, enforce and exploit tho Rights, including without
         Iimitation, via the establishmentof JoeSbuster'se8tatoandthe estate,stefbination
         pursuantto section 3oa (c) of thc u.s. copyright Law
                                                                 Clitlo l?, u.s,c.) of any and all
         gant or ransfen by Joe Shustcr of any copyrighr interestin his creations.In
         considcrationfor PPC'S contibutions to the Venturcand the mu$al covenantscontained
         herein Clairnants hereby transfcr and assignto the Vennrrc their rights, titlc aod interests
         b Oe Rights.'Thenameof tbe Vennrreshall be the "foe ShusterVenh[e." Thc Venture's
         ofEcc addressshall be the carfonria addrBsssct forth above.

                3,      PPC *ill pay any and all costsand expensesof rho Veuture, including the
        lcgal fecs and costsof sening up Ioe Shuster'sestare,U,S. copyright office costssucb a^o
        doctrmentretrieval costsand filing fecs,researehcosts,andany and all attomcys' fees,
        costsand disbursementsin connectionwitb any legal actionsor disputesconcemingthe
        cnforcemeutand/or defense.of the Rigbts andtbe Vennrc. Iq additiou to attomeys,fees,
        PPCwill bc responsiblefor tbe paymqntof any legalfiling fees,expert witnessfees,
        subpoenaandservice of pmcessfees,jury fees,depositionhanscriptcosts,photocopying,




                                                                                                        134

                                                   EXHIBIT 32
                                                      266
       Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 110 of 186 Page ID
iuc-14-06 l?:06pn Frora-                 #:27322
                                                                                    T-935 P.004/006t-342



         Page2
         JointVenturcAgreemcnt/ JocShustcr
          ntzStor

         postage'long distance telephoneand fax ch.arges,computenzed
                                                                      legal researsh,rcporter,s
         fees,costsfor preparation of exhibits and demonsbuive
                                                               evidencc, travel costs outside of
         the Los Angeles area if required, and uessengerfees.Any and
                                                                     all anomeys, fees payable
         on a contingencybasiswill be paid solcly out of PPC'S sharc
                                                                    of Proceedsset forth in
         paragraph5 below.

                4,      The rerms of any and alt agreementeregard.ingany of the Rights, io *y
         respect,sball be subject to the expresswrinen appncvrl
                                                                   of Clainraut and ppg. Tbo
         partieseacbwarant and representthat after signing
                                                               this Agreemcnt 15eywill not without
         tho expresswrittcn conscnt of all the pafties transfer,limit
                                                                      or cncumber tho Rigbts io any
         rsq)ect.

                  5.      Any and all moneysand proceedsrcceived frou the enforcement,
          scttlcmeotorcxploitation of ury of theRights,including without rimi13d6a,
                                                                                      Frxedand
          contingentcompensatiou,settlemeatorjudgrnent amounts,purchase
                                                                              prices,option or
          quitclaimfees,and/or royalties(" proceeds"),wi11besbare4
                                                                      divided aud payabre:fifry
         percent(Sovo)to claim.antsand fiftypcrcenr,5o%)to ppc. The parties
                                                                                 will useall
         rcasonableefforts to have Joe Shuster'sestate/ad-inisbator
                                                                     and third party payors, if
         aly' direc0y pay to the ClaiE nts and PPC their respectivefifty percent
                                                                                 (50%) shffe of
         Proceeds,   hiorto the abovedishibutionof hocecds, PPCwill be entitled to recoup
                                                                                              all of
         its out'of-pockctoxpcnsesunderthis Agrccmcntsubjectto thc presenarion
                                                                                     16elaimnnts
         of a rcasonableaccouutiugandreceiptsfor saidexlrcnscc.

                 6'    All aotices,cor.rsspondencc   andpaymcntrto cachparty underthis
         Agreemeutshall !s sentto tbe respectivcaddrusses   sotforth on pagc I of rhis Agrecment
         rrnlssseitherparty nodfies irreotber of an addrcss
                                                          cbaagcin writing.

                7'    The Venturc and/or the Esiateof Joc Shustcr(to be establisbedhercunder)
        will relpinMarc Toberoff, Esq.to rcnderlegal sendcesin counection
                                                                             witb the B-:6hr and
        tho Venture,includi"S in connectionwitn all legal dieputes,titigascn,
                                                                              arbitation andlor
        rnediatiouregardingtbc Righb; to implement,enforte andprosecute
                                                                            the Rights; and to
        handlothe negotiationof any contractsregardingerploitation of tbe
                                                                           Righa.

        r"n^a@l]ppf.+r-


                                                                                                       135

                                                   EXHIBIT 32
                                                      267
       Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 111 of 186 Page ID
iur-14-06 l2:08pm From-                  #:27323
                                                                                T-035 P.005/00sF-542



         Page3
         JointVentureAgreement/ JoeShuster
         tlt27tOl

                8'     The term ("Termu) of the Venhueshallextendfor thefirll duratioa
                                                                                         of the
         Righs andanycxploitatioaof theRigbts.Upontbccxpirationof
                                                                        theTcrm andthc
         winding-upof thc ventuc or in theevcntof terminatiou
                                                                of tbeventurp for any r3ason,
         all Rights,propefiyor asseeof theventurewill bc heldfifty porcent
                                                                           (so%)by the
         Qtainenkandfrfty percent(5070\by ppC astenanisin commoa,and
                                                                            Cleimenrs8!d ppc
         will cachbeentitledto recciveandcontinue0oreceivofifty percon(s}%)of
                                                                         t         all hoceeds
         derivedfrom the Rieha afier rrnrinatiou of thc venhr€.

                9'       To covertbe unlihelyeventthatMarcToberoffdies or is disabled;ppC
         will pdor to serviccof anynoriccof terminationregarding
                                                                  tbcRights(pursuant!o Section
         30a(c) of tbc u's. CopyrightLaw) eitber(a) anangofor a suitablcreplaccncnt
                                                                                        Bnomey
         experienced  in copyrightlitigationandwilling to enforcethoRightson solelya
         gsptingent feebasis:or O) if no suchreplacembnt   attorueyis arranged[6 6[rnin .!gy
         nan" iusuraocefor Mr. Toberoffin thcarnountof gls0,Ompayabte
                                                                            solely to Claimaats.

                 10. All partiessgreeto executcsuchfurtberdocuments    andto pcrform such
         furtheractsasmay be reasonab\tnecessaf,yor desirablcto carryout thepurpoeesand
         effectof thisAgreement,includingwithouttimihlisp anirrcvocableletterof authori[
         insuusringtbe administratorof Joeshuster'sEstaEto divideanddisbunealt hocecds
         from theRightsassetforth in paragraph5 above.wben requiredbercunder,
                                                                               consentsball
         notbc unreasonablywitbheHby anypartyregarding   thebusinese  of theVcnturc.The
         partiesherebyaDDrove MichaelCatronfor appoiomentastheadrrinistratorof Joe
         Shushr'sEstatc,onccit is cstab[shcd"

                I I'     This Agrecmentcontaincthc frrll understanding
                                                                     of thepart!:s and
         sup:rsedes  all prior or conlemporaoeous
                                                uoderstandings whetherwrittenor oral with
         respectto thc subjectnlattcrbercofandmaynotbemodifiedexceptin
                                                                            nrritinssignedby
         thcpafty to bebowrd.By counteniguingthieAgreeoentthoparrieseach
                                                                               rchowledge
         thattbeyclearlytrndcrstandthc termsandconditioneof tlusAgrecment;
                                                                              andhrve agreed
        to rhesstermsandconditionsafterdetailcdaadmaturedcliberafon.The
                                                                              partiesfirther
        acknowledge    thatthcy havenot signcdthisAgreement  in relianccon anypromiseor
        represenutionDotexpreaslysetforth in this Agreemcnt.The    partieshavemutually
        participated in thenegotiationandiuzftingof this.lgreemeniand   agreethatthetennsof
        thisAgreementsballnot beconstruedmorefavorablyto cneparty
                                                                        thantheorher.To tbc
        extentany provilon of this Agr,eement
                                            is found invalid, saidprovision sball be stricken


            lar ,,7
        utlnD
                                                                                                136

                                                 EXHIBIT 32
                                                    268
       Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 112 of 186 Page ID
'Aug-14-06
          lZ:0Epn                        #:27324
                                                                                  T-03t P.006/008t-542


              Page4
              JointVenfureAgeemcnt/ JoeShuster
              nt23t0l

             andshdl not affect thevalidity
                                            of theremaiaingp,rovisioos  bereof,TLis Agreemontshall
             bindaudin'rp to the bcncfit ol tn,
                                                partics,their reopective
                                                                       hcirs,successor'andassigns.
             Executedf66imilg copiesof thisag."n
                                                       nt shallbevalidacceptable substitutcs
             executed
                    originals.                                                             for

                   ll'   *                  begovernedby therawsof california
             agrecmcnts      1*:renrshalr
                       madcand                                                appricablcto
                               to be performcdthereh.

             Agreed,understood
                             andaccepted;

             Pacific PicnrresCorporation


               ftt7.'-a---
                                                             Dale:- tllar.   ZA. ZooT




                                                            Dac:                  Q-oa I




                                                            Datn:tlnv-"|X,Z=,*s|




                                                                                                 137

                                                  EXHIBIT 32
                                                     269
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 113 of 186 Page ID
                                  #:27325




                  EXHIBIT 33
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 114 of 186 Page ID
                                  #:27326
                  Case 2:10-cv-03633-ODW -RZ Document 334-7 Filed 10/24/11 Page 2 of 15 Page ID
                                                   #:22027

                                                                                "`                                                          ^
      J     ^            ?aR' i            i                                                     .^    ,..     -   ^^                                       ^ ^^J^2T USE C7NLY
                                                         ^I ^/    '^'v''Jl)          ^.^ 1 ^^ ',^9^ '1'.':11
    _Jt^HN D. PETT^<I F:, L=sq. (^;É;N ^_ s-1 ι ^,}
      RÓD1, PßLLOCK, PETTKER, GALI^^?AITH ^ CANILL
      A Law Corporation                                                                                                            ^ í   '^ ,
      444 South Plower Street, Suite 1 X00                                                                                     ^ ^ ^ . L .. + - -
                                                                                                                                )_'
      Los Angeles , California 90071 -2901                                                                         ^ S At^tGElr¡ ` ti υ ^^ u.'SßK C^^^T
    ,4T70RNËY εΡÓR Name ; MARK WARREN ^?EARY                                                                                                              }      `
     SUPERI O R C OURT O F CALIFOR NIA ; COUNTY OF Los Angeles                                                                         1λ 1.              J ^„Ui} J
                                                                                                                                         ^}
            s^Rεε^ a^^Rεss_ 111 N. Hí11 Streét                                                                                                                               ^^
            ^a^uNOanoRess : 111 N . Hí11 Street                                                                             JAHN /^^ ^^^^=
           G^^Y ANO ziP c^O^: Los Angeles , CA 90012                                                                                                                     ''
                 BRANGH NAME:     Central Dlstrlct                                                                              ^^ E,                  ^^^E^^            r^ '4
     ESTATE of (tvame}: JOSEPH SHUSTER , also k^^^wn as JOE                                                                                                                                       '
             SHUSTER
                                                          jl^^ s t                                      ^ECED^N^
                                      ^Ç__) Probate of Wí11 and for Letters Testamentary                                case Nu^e^^^:
      PETITION FOR                    ^ Probate of Wí11 and for Letters of Administration                                                          ^^^^_^^^ __
                                            with Will Annexed                                                           HεΡ^R^^c   ^A^F,.
                                                                                                                                       J
                                            Letters of Admïnïstratíon                                                              t, λ ,         ^^ fem,
                                            Letters of Special Administration                                                    ;^ /                         ^ `^
                                               Authorízatïon to Administer Und^e`rη the Independent                     °EP7-                                        ^^^^:                 .-r
                                                                                                                                      ^^
                                               Administration of Estates Act    ^_^ I   with limited authority                                                                ^ ' ^}
   1. Publication will be in (specify game ^fnewspaper): DAILY JC}URNRL
      a. CX _^ Publication ^equest^d.       b. ^ Publication to be arranged.
   2. Petitioner (name of each):        MARK WARREN PEARY                                                                                                                              requests
          a. i^J decedent's will and codicils, if any, be admitted to probate.
          b. _X^ (name):   MARK WARREN PEARY
                 be appointed {1 } ^ executor                                 (3} ^¡ adrninistrator
                              (2} ^^ adminïst^ator wïth will annexed          (4} L^ special administrator
              and Letters issue upon qual^ficatían.
      c. _X ^ that (___^ full !,^ limited      autho ^ ty be granted to administer under the Independent Administration of Estates Act.
      d. (1} ^ bond not be ^equíred far the reasans stated in item 3d.
         {2} ^ $                       bond be fixed. It will be furnished by an admitted surety insurer or as otherwise provided by law.
                   (Spec^ry reasons ^^ Attachment 2 ^f the amount ís different from the max/mum req^red by P^bate Code sect^an 8482.)
                (3} '^ $                              in deposits in a blocked account be allowed. Receipts wí11 be filed. (Specify ínstítut^on aid location):

  3. a. Decedent died on (dafe): July 30, 199 2      at (place):                          West Los Angeles, California
        (1} ^^ a resident of the county naméd above.
                (2}    ^ a nonresident of California and left an estate ín the county named above located at (specify location perm^tt^ng
                            pubtícatíaπ ^n the newspapernamed i^ item 1):
      b. Street address, city, and county of decedent's residence at Time of death (specify):                        11944 Montana Avenue #305, West Los
         Angeles, County of Los Angeles, California 9 0049
      c.        Character a ^d estimated value of the property af the estate:
                (1} Personal property:               ^          None
                (2} Annual gross income from
                      (a} real property:                    $           None                                                                                              ^' '"
                                                                                                                                                                         rri  a:« ^,
                                                                                                                                                                                  ^- ^^"n `'^
                                                                                                                                                                                          ^
                      (b} personal property:                ^           None                                                                                             ^ ^' rÿí ^ ^w.' c`^
                                                                                                                                                                                           ^
                                       Total:               ^           None                                                                    r- ¡
                                                                                                                                                                         r^i ^ ^= -+
                                                                                                                                                       ^ ^ +..'.    ^7   .;^ ,^ ^ ßr7
                (3} Real property: ^ None                               (If futt authority underthe lndepe^de^ tAdmínistraf^orx^pfsØte^R ^t fs r^u^sféd,
                                                                        state fhe fair market value of the real p^aperty less e^cι ^bra ι^es.) ^     x
                                                                                                                                                 c^+
     d. (1)           0 Wí11 waives bond.             Special administrator is the named executor and the wí11 waives b2fnd.      -' `' `^; ^^
                                                                                                                                     ^_í ^ _^.
        (2)           [^ All beneficiaries are adults and have waived bond, a ^d the will does not require a bond. (A^x waver as^tt^c^^.in^^rt
                         ßd(2).)                                                                                              .,
                                                                                                                             Γ.Y     ι..ε w• ι^-
                                                                                                                             .u            ^t7 I" 1
                         All heí^s at law are adults a ^ d have waived bond . (Affix waver as Attachment ßd(3).)             ^.η     ,-,
                                                                                                                             ^,      r.,.a ^.., ι-,
                         Soie personal representative is a corporate fiduciary ar an exempt government agency.                             .^:^ ^^2
     e.                      Decedent died intestate.                                                                                                                            ^:^
                                                                                                                                                               ^: "_
                             Copy of decedent's will dated: 6!28/19 88          ^ codicils dated:                                       are affixed as Attac^^^iiënt ße(2}.
                              (^ The will and all codicils are self-proving (Prob. Code, § 8220).
                                                                        (Continued on reverse)
          rorm^P^Ved^yme                                             PETITION FOR PROBATE                                I.,ØdI                                               ° §§ 8002, 1Ø5O
                                                                                                                                                                   Probate Cod_,
    Judicial Coúx^cil of Galdornia
   ^εΡ-111 jRev;:^la^uar^ ^, 1^s^[                                                                                  SO^üi~l ^S"
     Ma^tlatory Use [1/1/2000]                                                                                        Ø PUS




                                                                                        EXHIBIT A
                                                                                          4
                                                                               EXHIBIT 33
                                                                                  270
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 115 of 186 Page ID
                                  #:27327
       Case 2:10-cv-03633-ODW -RZ Document 334-7 Filed 10/24/11 Page 3 of 15 Page ID
                                        #:22028




                       Ín the Matter of the Estate of' J(7SEP^I SHU^TEIR, Øe^:edent
                     Eos Aneles Connty, Calífornía, Superïor Court -Central Dístr^et


                                              ι^TTι^CHME1^tT 2c
                                           Repue^ted 4ddítíonal P ^wer

                           l.' ^^^t^^sted ^cïditiç^nal Power
                          P^:^ i ^ i^^ner r^^ue^^s that the court grant hïm the following power ^^ addition
           to thé general jio^ ers conferred upon hirr^ by law and under the Independént
           Administration al f ^a^a^^s Act: the power to terminate prïor transfers ^^f the decedent`s
           copyrigf^t(s) p^rsuunt to Section ^3(l4(e} of the Cnited States Copyright Act, 17 U.SC.
           ,^30^(c)(2)^D), and ta maintain and defend ^^n behalf of the decedent and the estate all
           pr^ce^'^^^^^<_^.,^ n^cessar^ or ap^^ropriate in connection with this action.




                                                        EXHIBIT A
                                                          5
                                                 EXHIBIT 33
                                                    271
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 116 of 186 Page ID
                                  #:27328
       Case 2:10-cv-03633-ODW -RZ Document 334-7 Filed 10/24/11 Page 4 of 15 Page ID
                                        #:22029




                           Yn the Matter of the Ostate of JC?SE^'^I HHUT^R, Decedent
                         Los Angeles County, California, Superior Court -^- Central hJistríct


                                ATTACf3[MENT 2d{1}, ^{c} aná 3{d){1}, {2) ιι ^ εl {^)

                  I`^a bond should be required of petitioner to act ^ ^ I ^: ^^ ^ c utor, or íf a bond ís
           required by the Court, it should be for á nominal amount, for tl^c Iollowing reasons.

                   L      The first Warned Executor, Jean Adele T'• °; ^ vy, h u ^ ; í smed and fled a
           Declir^atian to Act as Personal Represen^^^t^ve ánd Waive ul l,ond of Mark Warren
           Peary as Personal Representative. Jean Ade1c Peavy, who is the sister of the decedent, is
           also the sole benefïcíary under the dec^^tc^t's Wíll and the sole heir aí law of the
           decedent's estate under the laws of intestacy.

                 2.      Petitioner ís the alternate named )^;s^^^cutor under the decedent's Wi11, and
          the decedent's Will waives bond.

                 3.          Petitioner, who is the son of lean Adele Peavy, is the nephew of the
          decedent.

                  4.      A probate proceeding with respect to the decedent's estate would be
          unnecessary but for the fact that a personal represéntative of his estate needs to be
          appointed for tl^e purpose of terrnínati^g prior transfers raf the decedent`s copyright(s)
          pursuant to Section ,^304(c) of the United States Copyright net, I7 U.S.C. ^304(c)(2)(I^).
          This right of the personal representative of the décedent's estate to terminate prior
          transfers of the decedent's c^pyríght{s) was enacted into federal law as part of the Sonny
          Boni Copyright Act effective October 21, 1998. The purpose of such new law, enacted
          aver six years after the decedent's death, ^^ to give authors and théír estates tl^e power to
          recover previously assigned capy^ ghts within time lïmíts dél^neated in the stat^^te.

                 5.      All assets of the decedent, with the exception of the decedent's interest ín
          and to the e^^pyrights, which c^^rrently have an undetérmined válue, were of minimal
          value and transferred through a § 13101 affidavit by Jean Adele Peavy shortly after the
          decedent's death on July 3 ^, 1992.

          Dated:         ^^^ ^ ^/     ^ ^^     , 2003




          261503_1.doc




                                                         EXHIBIT A
                                                           6
                                                  EXHIBIT 33
                                                     272
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 117 of 186 Page ID
                                  #:27329
       Case 2:10-cv-03633-ODW -RZ Document 334-7 Filed 10/24/11 Page 5 of 15 Page ID
                                        #:22030




                           ^n the Matter of the l^;sta[e of,I^JSEPH SHUSTET^, Decedent
                         Los Angeles County, Califurnia , Superior Court -Central Distrïct


                                               ATTACHMENT 3e(2)
                                          (Z^ast) Last Wíll and Testament

                           ^ ^^^^^u7ds ±^^^^ ^1^^^^^s,,ít^^ ^^t^ 1 ^,^ Will
                            1 ^ ^ c d^ cedent died more ^ l r ^ ^^ 10 yéars ago o ι3 July ^ ß, 1992. Petitioner
          and athc^^ ^^^u^^ly members have made a diligent and extensive search for the original Will
          executed by the decedent on June 28, 1988, but have been unable to find it. Petïtïoner
          has only found a copy of such Wï11, which he is sub^x^itting for probate as the decedent's
          lost Will. Petítïon^;r believes that the o^ïginal of such Will has been lost or inadvertently
          déstroyed. There would be no reason for the decedent to háve revoked such Wi11 by
          destroying it, because the terms of the Will replicate the result íf the decedent died
          intestate. Under both the Wí11 and the 1a^vs on intestacy, petitioner's mother, Jean Adele
          Peavy, who is the decedent's sister and sole surviving heir at law, would be the sole
          beneficiary of the decedent's estate and, but for her declïnátïon to act, would be entitled to
          be appointed personal representative. Furthér, under both the decedent's 1äi11 and the
          laws of intestacy, by reason of the declïnatïons to act that háve been isled concurrently
          with this petition, petitioner is entitled to be appointed personal representative.

                              The decedent never married and never had any ïssue.




          261503 1.doc




                                                           EXHIBIT A
                                                             7
                                                   EXHIBIT 33
                                                      273
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 118 of 186 Page ID
                                  #:27330
Case 2:10-cv-03633-ODW -RZ Document 334-7 Filed 10/24/11 Page 6 of 15 Page ID
                                 #:22031
  ^^^




                    Datsd




                                 EXHIBIT A
                                   8
                                    EXHIBIT 33
                                       274
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 119 of 186 Page ID
                                  #:27331
         Case 2:10-cv-03633-ODW -RZ Document 334-7 Filed 10/24/11 Page 7 of 15 Page ID
                                          #:22032




    I^AIOW A1L I'EI250N^ BY T^-iE^E PRESIa^+ITS;
    That, ^   JCIEPH SHUSTER
    of               ^            Gl . h_o_^, , ^^ι:^^_2es, ^a1^.^er^^^^.a ^F                          .
    being of sound and dispös^ng mind and memory, and nöt acting under duress, menace, fra^.ic^ or the
    undue influence of any peson whömsoever, dö make, publish and declare this my Last Wí11 and
    Testament.                                                                     ^     '
                                                                I.
      I herei^y declare that I am the          brother                  of JEAN^F PF:AV`^




    at the time of the execu#ïan of this Will.
                                                               IL
     I make ^o bequest , gift or devise tØ my children named in Paragráph I, or to any other child o^
    ^híldrén hereafter born to or adopted by me, except as hereïnafter stated, knowing their
            ^Ì^^                      will provide for them.                            ,
            (mother, or fuihe^                                                                                   -   '

                                                              it
      I hereby direct aid order that all just debts for which proper claims are filed against my estàte,
    and the expenses of my last illness and funeral, be paid by my execut ri X as soon after my death
    as ís practicable; provided, however, that this direction shall not authorize any creditor t'o require
    payment of any debt or obligation prior to its normal maturity ín due course.
                                                              I V.
      I give, devise and ^^queath unto                 JEAN A.^EZF L'FAVY                all of the rest, residue and
    remainder of my estate, whether real o^ personal, aid wheresoever situated. In the event that
         Jean Adele Peary                                     shall predecease me, or ^^ the event that both
         Jean Adele Peay                            and I shall die as a result of a common accident, illness or
    disaster, then I give, devise and bequeath the residue and remainder of my estate to my nephe^^, (:
         ^!IARK
          .     WARREN PEARY                                                                                                 `1•

                                                               V.
      I hëreby nominate and appoint my s.^ ^1:Rr                               ^' Jean. Adele Peaty-                     ,
    exec^^t^'í ^ of this my Last Wí11 and Tesia ττle ^ t, tó aFt withoùt ^árid . 'n the. event that my
      sifter ,                   , is,fór: any reason:unable,or unwíliiiig to aci as executr.:^_x__hereof, I nominate
    and ^;ppoint ''^             Mark Warren Peá^^y                ^^                             ^ ^        to act as
    execul^r _. also without h^_^.d.                                  ι ^ ιι




                                                                     EXHIBIT A
                                                                       9
                                                           EXHIBIT 33
                                                              275
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 120 of 186 Page ID
                                  #:27332
       Case 2:10-cv-03633-ODW -RZ Document 334-7 Filed 10/24/11 Page 8 of 15 Page ID
                                        #:22033




                                                     V^I; `
            her direct that my estate be settled wïth`aut the intervention of any court , except ta the
    extent requireel by law, and thàt my execut.^..ï^._ settle my estate ïn such a mánner as shall seem
    best aid mast canvenïently to        ^_..^,.and I hereby empower my executrí.,κ__ to rr^artgage, lease
    sell, exchangé and Canvey the pe^sanal áñd real property of my estate without an order of court
    fir that purpose and wíthout natïce, approval a^ confïrr^ïatïon aid ïn all other respects to admínï-
    ster and settle my estate wïthaut the intervention of court..




                                                                                                      . ? τ^ τ




                                                       EXHIBIT A
                                                         10
                                                EXHIBIT 33
                                                   276
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 121 of 186 Page ID
                                  #:27333
         Case 2:10-cv-03633-ODW -RZ Document 334-7 Filed 10/24/11 Page 9 of 15 Page ID
                                          #:22034



                                                                       Vil.                    ^^ _ _ ^                         ^ 'x
      I hé:^^6y revoké any anç^ ^^l f^ rmer Wí1ls and Codícils thereto ^Yade by me and declare this my
    Z.ast ^^lrll and 1 ^^°;1 ^^^^ent^
      In Witness Wher^^^^f I have hereunto set my hand this __`^`^ ^ day af




          ι:.
    ^TAT)^ C7F CAL^IF ^1RNIA
         ; ",
    Cau ^ ty a
                                                                                                                                                           i1
      Each of tt-h-e^ undersigned, being first duly sworn on ^^ath, states that on this                                                                    ιι
                                                                                                                                          ^ day af


      (1}lam over the age of eighteen (18} years and competent to be a Witness to the Wíl1 of
            JOSEPH SH^JSTER                                 •''                      (the Testaïo^.._);
      (Z} The Testatc^^ , in my presence a ^ d in the presence of the other Witnesses whose signatures
    appear below:
           (a) Declared the foregoing instrument cansístï^g of nn^^                                        pages, of which this ís the last
               to be hip      Wí11;
           (b) Requested me and the other Wít^esses ta aci as Witnesses to h i^                                                        Will a ^d to make
               thïs affidavit, a ^ d
           (c) Sïg^ed such i^sirume^t;
     (3) I believe the Testat ^r   to be of sound mind, and that ín so declaring a ^ d signing, hP
   was not acting under anÿ duress, me^^ä^e,-frond; o^^ undue ïnfluence;- -
     (4} The other witnesses a^ d I, í^ the presence of t`he Testat ^r                                          a^d af each other now affix
   our signatures as Witnesses tó thé Will and make thí,a affídav^tt:                                                 -



   Wit-τ ^ ss              ^                                                 ^W't
     ^^ ^
        ^ ^      C^`U2f`^t,^^-^µ ^ ^`e.. ^^                                           υ ^`f^-^ ^7°^`A^^.^ ^ (1
                                                                                   c.i^
   Add^ss ^                                                               ^ Add r e ss                                    1                            ^
                                                                                                           ςς
                                                                                                                                              ?^ δÚ^
                                                                                      ff        ^                                       t
        ^ t^-                                Ø^ ^                                    f' ^t-^ '^ λtrCς^λ ^ ^ ¡            c ^b rt i,.ι t :6
                                            ι ιι ^ i11t ε I ιι.ι; ^ ^; ι t ι.ι . .,1 , . .1.ι; ^ ,τ. r,-li _.. . ..   ^¡ t ιι
                                                                     :.^, ^ ..,.
                               Witness

                               Address




                                  ^r^^saèt^^+r
                                  o^Fι+vιaι sεa ι _.
                             F. PATRICI{ HAGERTY
                            NOTARY PUBLIC-CAUFORNIA
                               PR1N1ClP0.4 OFFtC Σ; ^iN • - ^
                               LO5 ANGELES COUNTY
                          mission Expíres Apríi 23, I99
                               ^^+s++




                                                                             EXHIBIT A
                                                                               11
                                                                  EXHIBIT 33
                                                                     277
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 122 of 186 Page ID
                                  #:27334
      Case 2:10-cv-03633-ODW -RZ Document 334-7 Filed 10/24/11 Page 10 of 15 Page ID
                                        #:22035




                             Ín t1 ^ c ^^latter of the ]^' ^ tate ι^Σ etti l^.i'l1 S^^TER, Deeedent
                        ][^,πs Λ ^,^elcs County> CaCïfornia, Sup ε^ ^íαr Cε^ιxrt - Central DíStrïct


                                                         1TT^1C11;^i1{;.Λ^T ^^ ^
                                    l^π nre^i ^^e ^^^t π1' ('alifπ r ^ i^ι υ n λ 1 'er ^ι anerιt Addre55

                 I, Mar^ Warren PØary, the prupυsc ι^ ^,ιι^^^-, ι^ ι ^ι1 rcp^c^entative, am a no^-reside^t of
          Calïfarnia. f resïde ín the State af New ^lcxica at the 1u11awínØ reside^ce address:

                                                          51 Camino Cabo
                                                        Santa Vie, NM 8750$

                 I hereby ca^sent to act as the personal representative af the estate af my uncle,
          Joseph Shuster.

          Dated^           _...ì   ^ ^ 1: ^'   (^,̀`^     , 2003




         261503_1.doc




                                                                    EXHIBIT A
                                                                      12
                                                            EXHIBIT 33
                                                               278
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 123 of 186 Page ID
                                  #:27335
      Case 2:10-cv-03633-ODW -RZ Document 334-7 Filed 10/24/11 Page 11 of 15 Page ID
                                        #:22036




                            In the ^^latter of the Estate of JOSEP^I SHUSTEi2 , Decedent
                          Los 1rt;.;clc,^ County, California, Superior Court -Central District

                                                  ATTACHIØNT 8

          The failawing ïs á lïst af the names, relatïonshíps, ages , and addresses, s^ far ^^ knawn to
          ar reasonably ascertainable by petitioner , af (1) all persons naØed in decedent's will and
          codicils, whether lïving ar deceased , (2} all persons named ar checked ín items 2, 5, 6,
          and 7, and (3) all beneficïa^es öf ^ Øvisee trust in whíeh the trustee and personal
            }^rc,^ c ^^ ^ átive are the same persen:

          Name and. Address                                ^Relationshii^                        ^

          Mark Warren Peary                                Petitiöner^Nephew                     Adult
          51 Camino Caha
          Santa Fe, NM 87S0ß

         Jean Adele Peavy                                  Sister                                Adult
         ^ I Camina Cal^ö
         Santa Fe, NM 87508

         Dawn L. Peavy                                     Níece                                 Adult
         11405 Lake Nemi
         El Pass, Texas 74936




         ^^ ι sa^_1.aoε




                                                           EXHIBIT A
                                                             13
                                                    EXHIBIT 33
                                                       279
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 124 of 186 Page ID
                                  #:27336
              Case 2:10-cv-03633-ODW -RZ Document 334-7 Filed 10/24/11 Page 12 of 15 Page ID
                                                #:22037




                   1   RODI. P ΠI I OC`T^, T'ÉTTKÉR, GALBR^ITΣ-I
                       & C;^ι 1 ^ I1. F.. A L^ ι ι^ Corporation
                   2   JOI 1 ^^ 1). 1' 1^a ^ 1^111 ^ 1^(S$N 42346)
                       444 ^o ιιι l ι 1 ^lu ιτ cι 5 treet, Suite 1700
                   ^   Los ,1 n^^ ι:1 c;, California 9007 ^-2901
                       Telephc>^ c: (2^3) 895-4900
                   4   Pacsimi 1 ^ ^{21 ^ ) 395-4921

                   5   Attorneys for MARK. WARREN PËARY
                   6

                   7
                                             SUPERIOR COURT OF THE STATE OF CALIFORh^IA
                   3
                                               F'OR THE COÚNTŸ OF LOS ANCÉI_^ES, CENTRAL
                   9

                 10
 J
 J
                 11                                                       CASÉ NO.
 _
 <t   a
      ^ ^
                       In re the Matter of the Estate of                                     ^^
 ü    ^^
      ^
        ^
 Ø
 ^
      ^ ^        12
 H
 z
 ^^_.^,^„                                                                DECLINATIÓN TC} ACT AS PERSC}NAL
 ma ε-=d^        13                                                      REPRESENTATIVE AN^J WAIVER OF BOND
 ^^^^ φ                    JOSEPH SHUSTER, also known as                 OF MARK. WARREN PEAKY AS PERSONAL
 ^a   ^ °^ 14
 ιu ^                      JOE S Σ-IUSTER                                RÉPRESENTATNE
 ^ ^ ^^z
 ^ ^^ ^
 o-g° ^ á        15
 Y Q^-^ ^
 CJ
    Z W tW-
 °    ^z         16
 ©    od
 ^ ^ uι
    ^                                                      Decedent.
 s ^ -'          17
 0
^
                 18
                               I, JEAN ADELE PEAVY, state as follows
                19
                               1.      I am the only sibling of the decedent, JOSEPH SHUSTÉR. The decedent"s and my
                20
                       parents are both deceased, having predeceased the decedent. I have two children, both of whom
                21
                       survived the decedent. They are Marlc Warren Peary and Dawn L. Peavy.
                22
                              2.       I am the sole beneficiary under the decedent's Vt'ill dated June 28, 1988, and am
                23
                       nominated to act as Executor under such Wí11.
                24
                              3.       I hereby decline to serve as personal representative of the decedent's estate, whether
              -;25
                       as Executor of the decedent's Wí11 or Administrator of his estate.
              ^^^2^
                              4.       I hereby waive the requirement of a bond by Mark Warren Peary, whether acting as
              _>; 27

              ^^ 28

                        DECLINATIQN TO ACT AS PERSQNAL R^PRESEN^ATIVE AND WAIVER OF SOND OF ^L42K V^ARREN PEØY AS PERSONAL
                                                                 REPRESENTATIVE




                                                                   EXHIBIT A
                                                                     14
                                                             EXHIBIT 33
                                                                280
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 125 of 186 Page ID
                                  #:27337
                     Case 2:10-cv-03633-ODW -RZ Document 334-7 Filed 10/24/11 Page 13 of 15 Page ID
                                                       #:22038




                           1                           rat`s ^^%i11 ór λdn1^nistratór π f his éslate.

                        2

                        3




                        6

                        7

                        8

                        9

                      10

         o            ..
 á
^ °°
Ø ^" 12
^ ^^     y   ^ ^
         ^
^            ^   m
     Z
Φ
       h.1"YÑ
     ^tλ

^^^^ ^
^° ;°_^-
     ^ rv,            14
^ó^-' ^ι^
^ ü ^ Ú Z

^ ^o ° 15
^-^.^ ^ á
Y4 ^ J ^
U   yWtW-
° ^z 1^
; á¢
∆ ^ó
0
      17
^
                      1^u

                      19

                      20

                      21

                      22

                      23




                               261 ^ 04 1.doc


                                                                                   2
                                 llECL1NATÍON TO ACT AS PERSONAL REPRESENTATIVE AND WAIVER OF BOND OF MARK WØREN PEØY AS PERSONAL
                                                                           REPRESENTATIVE




                                                                             EXHIBIT A
                                                                               15
                                                                      EXHIBIT 33
                                                                         281
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 126 of 186 Page ID
                                  #:27338
               Case 2:10-cv-03633-ODW -RZ Document 334-7 Filed 10/24/11 Page 14 of 15 Page ID
                                                 #:22039




                     1   RODI, POLLOCI^ _ PE"1 TKER, GALBRAITΣI
                         & CAHILL, A Law Corporation
                         JOI-IN D. PE^`1^ K 1^:1: f^ BN 42 ^ 4^^
                         444 S^uth fl^wer Strc ι t, Suite 1700
                 3       Los t^ιι rrclc;. Ca1^Ii^rτ^ ^ ιι 90071 -?901
                         Te1e^>h ι ^nc: Γ213) 895 -4900
                 4       I^^tc^,i ι nilc: (? 1 >} 895-4921

                 5       Att^rl^e^s lì^r MARK WARREN PEARY

                 6

                 7

                 8                                SliPERIOR COURT OF THÉ NATE OF CALIFORNIA

                 9                                  FOR THE COUNTY OF LOS ANGELES, CENTRAL

                10

                11
=^    o
u     ^^                 In re the Matter ^f the Estate of                  CASE NO.
Ø     WN        12
^     ^^
      ^^
^     ^ ° ^,     ,
 m^ ^ Q ^       1^                                                          NOMINATION OF PERSONAL REPRESENTATIVE,
^^^^Ø                                                                       DECLINATION TO ACT, AND WAKER OP BOND
 ^ ∆. ^ 4N      14           JOSEPH SI-ILTSTER^ also known as               OF MARK WARREN PEARY
 ^4^^ ι^
                             JOE SI-TUSTEK
 w^^u^
∆. ¢^`^ d       15
 Y 4u`-^ ^
 U  2 ^^
 ^    ^2        1^
 ^    Od
ςL    ^ c^


0
 p'   ^ ^       17                                              Decedent.
^
                18

                19               I, DAWN L, PEARY, state and declare as follows:

                20                1.       I am the niece of JOSEPH SHUSTER (the "decedent"), the decedent named herein,

                21       being the daughter ^f the decedent's sister, Jean Adele Peavy. My brother ís Mark Warren Peary.

                22               2.        If the decedent's Will ís not admitted to probate and an Executor thereof ís not

                23       appointed and íf my mother, Jean Adele Peavy, declines to act as personal representative of the

                24       decedent's estate, I am a person entitled to equal priority for appointment as the personal

                25       representative of the decedent's estate with my brother, MARK WARREN PEARY.

                                 ^.       If for any reason MARK WAØN PEARY is not appointed by the Court as

                         Executor of the decedent's Will, I hereby nominate MARK WARREN PEØY of Albuquerque,

                         New Mexico, to serve as the personal representative of the decedent's estate without the


                                                                            1
                          NOMINATION OF PERSONAL REPRESENTATIVE, DECLINATION TO ACT, AND WAÍVER OF BOND OF MARK WØREN PEARY




                                                                        EXHIBIT A
                                                                          16
                                                                    EXHIBIT 33
                                                                       282
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 127 of 186 Page ID
                                  #:27339
               Case 2:10-cv-03633-ODW -RZ Document 334-7 Filed 10/24/11 Page 15 of 15 Page ID
                                                 #:22040




                      l   réquiremént of any bond, pursuant to the authority provided tó mé under Sections 841 and 845

                          of thé California ^'robate Cade, and I décline tc^ act as such pérsonal représentat^vé.

                    3              4:        My intent in mating thïs nomination is t^^ ensure thé appointment of a person that I

                    4     trust ta serve as thé personal representative of nay ui^ ^^ l ^^ ^ ^; ^::; [ate,

                    S              I declare undér penalty of perjury undér the laws of the State of Caüforr^ia, that the

                          foregoing is true and correct.

                    7              Executéd on                                 , 2QO^, in Él Paso, Téxas.

                    8

                    9

                  10
 J
                  l 1
_     d
4     4 ^
^     h ^
      ^ ^
Ø
                  l 2
 _
 ~    ^ O p
       aι m
 ^ Z ^ ^          ^^
          v
mö^jQui
  ¢   m
  ¢
^^YÇC^^
   o ι -o^
 ^ ^^^^           Ï4
 Y O^-^úi
     υ ^;ε z
                  l5




                 1&

                 19


                 2Q


                 21


                 22

                 23

                 24

                =25

               : - 2^

               '^ 27
                ^
               ^ 28       26I505_Ldoc



                                                                           2
                           ÑOMINATION OF PERSONAL REPRESENTATIVE, DECLINATION TO ACT, AND WAIVER OF BOND OF MØK WARREN PEAKY




                                                                              EXHIBIT A
                                                                                17
                                                                       EXHIBIT 33
                                                                          283
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 128 of 186 Page ID
                                  #:27340




                  EXHIBIT 34
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 129 of 186 Page ID
                                  #:27341
                   Case 2:10-cv-03633-ODW -RZ Document 334-8                         Filed 10/24/11 Page 2 of 6 Page ID
                                                    #:22042




                     1    RODT , POLLOCT^, PETTKER, GALI3RAITH
                          & CANIT:L, h. Ì.aw Corporation
                          JOHN ^. l'ETT1^ 1áR (SBN 42346)
                          444 South Flower Street, Sete 1760
                     ^    Las Angeles, CA 90ßl ^ -29ß ^
                          Telephone: 213-895-49ßß
                     4    Facsimile: 21 3-895-4 7Sß

                     5    Attorneys far MARK. W^ØEN PEÁRY,
                          Petitíaner
                     ^

                     7

                     8                        SUPERIOR COURT OF TAE STATE OF CALIFO                      A

                     9                                 FOR THE COUNTY OF LOS ANGELES

                    10

                    11    In the Matter of the Estate of                     NO. BP-080635

                    12    JOSEPH SHUSTER, also known as JOE                  ORDER ADMITTING WILL TO
                          SHUSTER,                                           PROBATE, APPOINTING EXECUTOR
                    1^                                                       AND AUTHORIZING INDEPENDENT
 ^^^^^ φ                                                   Deceased.         ADMINISTØTION OF ESTATE WITH
  ^' 0. ^ (yrv
              o_    14                                                       LIMITED AUTHORITY
  W   ^
 ^    Ú ^ ^ Z
 ^
 α-
      ^^U^
      α a ^^ á      1S                                                       Hearing Date : 8-25-03
 Ÿ    ^ ^ J^W
                                                                             Dept. 5 at 9:15 a.m.
  u       τ ^^
          F
 ^^       ^
              "i    16
 d        ^^
  ^       7 -^
          7   ^
                    ^^
 ^
 ^


                                 Petitfoner, MARK WARRÉN PERRY, filed his petitfon far probate of will and for letters

                    19    testamentary and for autharizatïon to administer estate under the Independent Administration of

                    20    Estates Act with limited autharíty of the estate of Jasøph Shuster, also known as Joe Shuster,

                    21    deceased (the "decedent"), and such petitfan came on regularly for hearing and approval by the

                    22    Court at 9:15 a.m. on August 25, 20ß3, in Department 5 of the above-entitled Court, the

                    23    Honorable H. RONALD HAUPTMAN, Judge Pro Tem presiding. JOHN D. PETTKER of Rodi,

                   '`24   Pollock, Pettker, Galbraith & Cahill, A Law Corporation, appeared as the attorney for petitfaner,

                   _25    and no ane appeared in opposition.

                   ^ 26          On evidence given to the satisfaction of the Court, THE COURT FINDS THAT:

                    27           1.      All notices required by law have been given.

                    28


                            ORDER ADMITTING WILL TO PROBATE , APPOINTING EXECUTOR AND AÚTHORIZING IAEA W^I'H LØITED AUTHORITY




                                                                    EXHIBIT B
                                                                      18
                                                             EXHIBIT 34
                                                                284
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 130 of 186 Page ID
                                  #:27342
                Case 2:10-cv-03633-ODW -RZ Document 334-8                                Filed 10/24/11 Page 3 of 6 Page ID
                                                 #:22043




                     1               2.     The d^^t^c^ie^a ^1íed an July 30, 1992, a resident © f the County ^f Las Angeles, State

                         af Calif^rnía.

                     3               3.     The decedent died testate , leaving a will dated June 28, 198$. This will has never

                     4   b^^^^^ r^;voked but was last ar inadvertently destroyed . Such wí11 is adrnítted to probate by Minute
                                     ^°'
                     5   C)rder on August 2^, 2003, as the decedent's last Will , and its pr^vísions are as follows:

                     ^                                 LAST WILT:., AND TESTAMENT OF
                     7   KNC}W ALL PERSENS BY T^IESE PRESENTS:

                     $                                                          I

                     9   That, I JØSEPH SI-ILTSTER, af W. Las Angeles, California, being of sound and disposing mind

                 IO      and mern^^^ y, and not acting under duress , menace, fraud or the undue influence of any person

                 ^^      whomsoever, do make, publish and declare this my Last Will and Testament.
       ^ ^
       ^` G^
    ^"           I2
  ^ ^ ^-
  a    ^ ó ;
                                     I heréby declare that I am the brother of JEAN ADELE PEAVY at the time of the
  ^^ ιu-^,^
  ^z^^v          I3
  m^^a
      ,^ ^^ ®
 ^^ ^^ ^
 ^^^ó:"_             4       xeeutían of ttιis Wi11.
  ^^^;
  '^^s"°=                                                                      Il
  ^^^ ^^ ^       15
  ^ ¢ ^-J...ι
          ^

 °     ^`^^      16                  I make no bequest , gift or devise to my children named in Paragraph I, or to any other
 ;     ©^
 ^     ^
 ^    ^.^°
         ^       17      child ar children hereafter born to or adopted by me, except as hereinafter stated, knowing their
 ^
                 18                 N!A     will provide far them.

                 19                                                            I^

                 20                  I hereby direct and order that all just debts for which proper claims are filed against my

                 21      estate, and the expenses of my last illness and funeral, be paid by my executrix as soon after my

                 22      death as ís practicable; provided, however, that this direction shall not auth^ ^ze any creditor to

                 23      require pa^rnent ^f any debt ^r obligation prior to its normal maturity ín due course.

                 2                                                             N

                 25                  I give devise and bequeath unto JEAN ADELE PEAVY all ^f the rest, residue and

                ^26      remainder of my estate, whether real or personal, and wheresoever situated. I^^ the event that Jean

                 27      Adele Peavy shall predecease me, or in the event that both Jean Adele Peavy and I shall die as a

                 28      /      /    /

                                                                               2
                               ORDER ADMITTING WILL TO PROBATE, APPOINTING EXECUTOR AND AUTHORIZING IAEA WITH L^vIITED AUTHORITY




                                                                       EXHIBIT B
                                                                         19
                                                                EXHIBIT 34
                                                                   285
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 131 of 186 Page ID
                                  #:27343
                 Case 2:10-cv-03633-ODW -RZ Document 334-8                               Filed 10/24/11 Page 4 of 6 Page ID
                                                  #:22044




                        1   result of a common accident , illness or disaster, then I give, devise and bequeath the residue ánd

                            remainder ofmy estate to my nephew , MA.RI^ WAl2.rE2EN PEØY.

                       3                                                       V

                       4            I hereby nominate and appoint my sister, Jean Adele Peavy, executrix ofthis my Last Wí11

                       ^    and Testament, to act without bond. In the event that my sister ïs for any reason. unablé or

                       ^    unwilling to act as executrix here^^ I nominate and appoint Mark Warren Peary to act as executor,

                       7    also without bond.

                       8                                                      VI

                       9            I further direct that my estate be settléd without the intervention of any court, except to the

                     10     extent re^luíred by law, and that my executrix settlé my estate in such a manner as shall seem best

                     11     and most conveniently to her, and I hereby empower my executrix t^ mortgage, lease, sell,
  ^
  (^
       ®
       á   O

  Ø `^^w"            12     exchange and convey the personal and real property of my estate without an order of court for that
  ^
     ^^®
  ^^ ^
       °°
  m^ ^ <ε ^          1^     purpose and without notice, approval or confirmation and in all other respects to administer and
  '^ ^^^ m
  ω ^"'^^
     ^ `"            I4     settle my estate without the intervention of court.
  ^^!^^ ω
  ω? ^^^
 ^^a ^ n               5                                                      VII
  ^ d^-_!

 á     ^^                           I hereby revoke any and all former Wills and Codicils thereto made by me and declare this
                     1^
 á
 ^     ^^
       °^
  ^    ^ó
       ^
       ^^            17     my Last Wíli and Testament.
 0
 ^
                     18             Ire Witness Whereof I have hereunto set my hand this 28^ day Of June, 1988.

                     19

                    2fl                                                                    JOSEPH SHUSTER
                                                                                           Testator
                    21      STATE OF CALIFORhIIA
                                                  ) ss.
                    22      COUNTY OF LOS ANGELES }

                    23              Each of the undersigned, being first duly sworn on oath, states that on this 28t" day of June,

                   "24      1988:
               ^ ;^
               ^ ^á
               ;^:,,^25             (1}    I am over the age of eighteen (18} yearsand competent to be a Witness to the Wí11

               ^i;,'; ;26   of JOSEPH SHUSTER (the Testator};

                    27              (2}    The Testator, in my presence and ín the presence af the other Witnesses whose

                    28      signatures appear below:

                                                                              3
                              ORDER ADMITTING WILL TO PROBATE, APPOINTING EXECUTOR AND AUTHORIZING IA EA WI`^H LL ^ΛITED AUTHORITY




                                                                       EXHIBIT B
                                                                         20
                                                               EXHIBIT 34
                                                                  286
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 132 of 186 Page ID
                                  #:27344
                 Case 2:10-cv-03633-ODW -RZ Document 334-8                               Filed 10/24/11 Page 5 of 6 Page ID
                                                  #:22045

                       ι




                   1                            Dc^^?^^^c^l i1^e foregoing insin^ment co^^;ïsti^^g ofone pages, ofwhich this is the

                   2       last to be his

                   3                        (b) Requested me and the other Witnesses ta act as Witnesses to his Wí11 and to

                   4       make this affidavit, and

                   5                        (c) Signed such instrument;

                   6               (3)      I believe the Testator to be of sound ^nínd, and that in so declaring and signing, he

                   7       was not acting under any duress, menace, fraud, or undue influence;

                   8               (4)      The other witnesses and I, in the presence of the Testator and of each other now

                   9       affix our signatures as Witnesses ta the Wïll and make this affidavit.

                  10       Tom Fenaughty                                           Robert Williams

                  11       3374 C7verland Ave., #1                                 3545 Mentone Ave. #3

  s    ^^         12       Los Angeles, CA 90064                                   Los Angeles, California 90034
       ^^
       ^ °
  φ ^ µ4°' °'^    13       SÜBSCRIBED & SWORN to before me this 28t" day of June, l98$.
  ^^¢Wz^_
  ^ °^°_ _^       14                                                       F. PATRICK HAGERTY
       «,
      O ^ ^
                                   [NOT.AR7AT. SEAL]                       Notary Public ín and far the State of California,
  ^^á^r 15
 ^- J J ^ ^.
                                                                           residing at Santa Monica, Calíi
 χ 4 ^ J J

 ó ^ú^ 16                  THE COURT ORDERS^-
 ^ ó τ
 ^ ^^
   ^ ^,
  ^ ^ -^          17               1.       MARK WARREN PEAKY is appointed Executor af the decedent's Will recited
  0

                  18       above, and letters testamentary shall issue on qualification.
                                                                    ..^
                  19               2.       The Executor is granted limited authority to administer the estate under the

                  20       Independent Administration of Estates Act (there ís no authority, without court supervision, to (1)

                  21       sell or exchange real property or (2) grant an option to purchase real property or (^) borrow money

                  22       with the loan secured by an encumbrance upon real property).

                  23               3.       The EXecutor ís also granted the following special power ín addition to the general

                 °24       powers conferred upon him by law and under the Independent Administration af Estates Act:

                  25       The power to terminate prior transfers of the decedent's copyright(s) pursuant ta Section §304(d)

                 ^26       of the United States Copyright Act, 17 U.S.C. §304(d), inca^porating without limitation 17 U.S.C.

                 27        §304(c)(2)(D), and to maintain and defend on behalf of the decedent and the estate all proceedings

                 28        necessary or appropriate ín connection with this action.

                                                                               4
                             aRllER ADMITTING WILL `^O PROBATE, APPOINTING EXECUTOR AND AUTHORIZING IAEA WITH LIMITED AUTHORITY




                                                                       EXHIBIT B
                                                                         21
                                                               EXHIBIT 34
                                                                  287
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 133 of 186 Page ID
                                  #:27345
       Case 2:10-cv-03633-ODW -RZ Document 334-8                                Filed 10/24/11 Page 6 of 6 Page ID
                                        #:22046




                                                      ^
           1            4.       BO^d ís Γ ^; cιt a   ^s,aoa.ao.
                        Øáted:

           ^

                                                                   Judge Pra Tem of the Superfor        ^OUrt
           5

           ^                                                               N. ^t{^NALD HAiîPT Γt4^Al,
               264438_1.doc
                                                                           JUDGE PSC} TEM
           7



           9




         18

         19
         ?a

         21

         22

         23

        `24

        °;25

        x ^5
         27

         ^^
                                                                      5
                  ORDER ADMITTING WILL TO PROBATE, APPOINTING EXECUTOR AND AUTHORIZING IAEA WITH LIMITED AUTHORITY




                                                               EXHIBIT B
                                                                 22
                                                        EXHIBIT 34
                                                           288
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 134 of 186 Page ID
                                  #:27346




                  EXHIBIT 35
  Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 135 of 186 Page ID
                                    #:27347
                      Case 2:10-cv-03633-ODW -RZ Document 334-9                                                                       Filed 10/24/11 Page 2 of 3 Page ID
                                                       #:22048
;(}FdY ATT.RNEY
             oRP^rrv wmrcw enoilffii.                                                                                                                                      DE-147
                                                                        . b@
      loPJ;_3gLLOCtr,  PET?KER,cAr,BRArrH                                                                                                               FAR COURTUSEONLY

      !_-qlryL.L, A raw CorporaE
      roHND. pErrKERrseir aiJaij-
                                -S,r it"
      _4 44S ou ElrF lo w er .Stre e E,           fZ O O
      Lo s An ge te s, ca li foi n iJ' go d ii _ 2901
                r E l E p l t o i r E r K 2! .1: 3 - g 9 S - 4 9 0 0
                                                                               F o ( M , . f o p , b a . r2} 1 3 - 8 9 5 _ 4 9 2 1
      E-UAlt AOORESS ( Ogtryl.lt :                                                                                                   fax


      supERroR
            couRToFcALrFoRNrl
                                                                                          tiEioner                                            $UPHHi#l;
                                                                                                                                                   r;iil:'ir
                           counrvoffi
      srREEr^loRE$*
                  111 North HiIl
      MATUNG^DoRESs:
                  111 North Hill
                                 StreeE                                                                                                                 0ci I 2083
                                 SEreet
     crr!^NozpcoDeLos Ange1es, CA

     ESTATEOF (Neme):- U
                                  900L2
                                                                                                                                                     Fi!=F#
                                                                                                                                               oRlclhlp,[.
                    .]OE SHUSTER


                DUTIESAI.TDLIABILITTES
                                     OF PERSONALREPRESENTATIVE                                                                             CISENUMAER
                           and Acknowledgmentof Receipt                                                                                     8P080535




                                                                       1. MANAGTNG
                                                       THE ESTATE'SASSETS
 a. PrudentInvestments
     You mustmanagelhe estateassets*91h"
     meansthatyou must ba cautiousand may careof a prudent?e.Fo,ldearingwith someoneelse,sproperty.This
                                               not makei'iv rp"*r"tive investments.
 b. Keepestate assets separate
     You mustkeepthe
    opena bankaccount Tgne.yand propefi! tris estateseparatelloT ?Irvolgelse,s,.inctudlng      yourown. when you
                         for ihe esiate,thi accountnameniust indicate
    account' Neverdepositestatetrnds in yourpersonal                   thliiii, *                and notyourpersonal
                                                                                          .account
            sectrities In thb estatemustaiso d ilH il;;#accountor otremriie-mi*'tiir
                                                                                   "Jtute
                                                                                        with youror anyoneelse.s
    i[3:8:                                                      that shows   rheyare estareproperryand noryourpersonal
c' lnteresttearrngaccounts ani other
                                      rnvestments
   trxcepttor checkingaccountsintendedfor
                                                 administration
                                          9rd!na1y            expenses,estiateaccountsmusteam interest.you
     il:il'ff:0fi:r?,fl: $iffJ:#:"tiaccounts innriancrai
                                                     in-"trtuuonJ.-uuild
                                                                   fi;[ consurt
                                                                            witranatiomey
                                                                                       before
d. Otherreit iaions
   TherearemanyotPt-1:^tbig,9ns   onSiurauthority
   estate'smoneyunlessyouhavereceveo                to dealwithestateqropep. you shoutdnotspenddnyof the
                                           p"-ir"i"n t'Jr ne cou.tor-have                                   r
   Younay reimburse  yourselfforoffieiaicourtcostspaioui                    b-een
                                                                                advisedto dosobyanattomey.
   withoutpriororderof thecourt,                            vout9 thecounty aJ[ anororthepremt,:nonyourbond.
                                )d;;i      nolRayre""sto-voiiselfor io yourattomey,
                                                                                  if 1ouhaveone. rfyoudonot
   obtalnthecourt'spermissionwtrln it is iequireo,y"u;;ii;iemoyeg asperonal'rpresontative
   requiredto reimburse-the,estate.fot                                                          or youmaybe
   concemtng                           voytownpersonal-funds,   or both.yousrroutoconsultwithanittomey
              thelesatresutrementsaffectins,"1"r,r""r&:;;'g"g;;;;il;;;;;ts            of esreleproperty.
                                 2' INVENTORY OF ESTATE PROPERTY
   Locate thc estate,sproperty
   vou mustailemptto loeateand take possession
                                              of alt the decedent'spropertyto be administeredin the estate.
   Datermfnelhe value of the property
   You must atrangeto navC-a-co[rt-iilpointeo
                                            refereedeterminehe valueof the propertyunlessthe appointment
   yfl)'gr?rhffiu1hl,ihtf,?] ttraiihe'rerete",                                                              is
                                                                                      rlrt arid#ine
                                                                                                  ttrevafue
                                                                                                          orceftain
                                                                                                                 "cishitems.'
                                                                                                                           eriltto,ey can
  fiillnly"1loJy  an-!appratsaf
  tlnln tour monthsafter Letters
                              are first iss.ugdt9 v,ouas personal
  inventory                                                    rrrsPrttse'rreruve'
                                                                 representative,
                                                                               you tmustfile withthe courtan
          andappraisat
                     of aiihei".iti'i,iin"   estate.                                                  ^J
m Adoflcd tor Msndabfyl.Ea
udrcEtCoundlof CCtbrnb                       DUTIESAND LIABILITIESOF PERSONALREPRESENTATMEG'                                                                         EXHIBIT
:-147lRa/. J.nusryt,2OO4
                                                                                       (probare)                                               S"EB                   +a

                                                                                                          EXHIBIT C
                                                                                                            23
                                                                                            EXHIBIT 35
                                                                                               289
  Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 136 of 186 Page ID
                                    #:27348
                    Case 2:10-cv-03633-ODW -RZ Document 334-9                        Filed 10/24/11 Page 3 of 3 Page ID
                                                     #:22049

           ESTATEOF(Nane):
                       qggElH s- ..JTER, also knoh,n as
                       JOE SI{USTER


    d. File a changeof ownership
       Al tha time youfil"      inventoryand appraisal,1oumustalsofile a changeof ownershipstratement
       recorderor assessor !:                                                                        with the county
                              in each countywhlre the iecedentowred reafproptrty a1-inerme of death,as provided
       section480 0f he canfomiaRevenueandraxationcoae.'-                                                       in


   Youmustmaitanotice
                    oradministration
                                to.J;ht3.*t:rJ.?,":*?J:3nnt                            within
                                                                                            rourmonths
                                                                                                     aneryourappointmenr
   as personalrepresentatlve-lf the decedentreceivedMedi€al
                                                                 aJrt-;;,    1ou rr.in"trrv the state Directorof Health
   Serviceswithin90 dap afterappolntment.
                                                       4. INSURANCE
   You shoulddeterminethat there.isappropriate    bnd adequateinsurancecoveringthe assets
   Maintainthe insurance                                                                    'evrgs'
                                                                                                 and'v 'risks
                                                                                                         re^- of
                                                                                                              v' the
                                                                                                                 r's estate.
                          in forceOuringtfri entireperioJdin"
                                                              "Otinistration.
    a. Keep accounts                               5. RECORDKEEPING
       You must keepcompleteand accuraterecordsof each                                                       you will haveto
       preparean accountof^allmoney.andpropertyyou harefinanclaltransacilonaffectingthe estate.
                                                             received,what you tTavilfent, and the dateof.each
       lransaction.Youmust describein detailutrai youha;; i;ft;ft;ih;;;y,r.,;nfoi"ip"n".r.
    b. Gourt review
       Youraccountwill be reviewedby the court..save yourreceipts
       file your accountsas required,the courtwitloraerpu to ;;!;. because    the courtmayask to reviewthem. lf youdo not
                                                                     you may bevL removed
                                                                                   rv"rv''|    as personalrepresentauve      if you
       failto comply.


    rfvou
        have
           anatromev,l:i:l1ylg                                                     your
                                                                       3ilLtS:fJ,and attomey
                                                                                          areresponsibre
                                                                                                   for
                                    "*oi;,:;qil:rlt#lis"fr
    completingthe estateadministration
                                     as promp0yas possible.wrren In doubt,           contact your attomey.
                   1.

                        I:,::.":li:1::I:::1111:p'."entative       ls sov"in;J uv1n"tawitsetfandnot by
                                                                                                   - t this
                                                                                                       v.) summary.
                  2.                          v9"'duties to '"""t t;;;;ffi;tie
                        P::j:1j:,f:{:"1                                           courtmayreduce  your
                                                        "'
                                                  ACKNOWLEDGMENTOF RECEIPT
 1 . I havepetitionedthe courtto be appointedas a personar
                                                               representative.
 2. Myaddressandtelephonenumber
                            are(specify).:           51 camino cabo, santa Fe, New Mexico 8750g
           ,.,                                       Telephone: 50S_4G6_455L
             ,.
 3. I acknowledgethat I havereceiveda copyof this statement
                                                          of the dutiesand liabititiesof the officeof personal
    representative.

Date: September f,.!}.,                  2OO3


                             [N?E ORPRINTNAME}


Date:
                                                                        \
                                                                        D
                                                                        7
                             rrYPE ORPRINTNAME)




    GoNFIDENnAL  INFoRMATIoN:lf requlredto do so by localcourtrule,l,oumustprovtdeyour dateof birth anddriver.s
    llcensenumberon supprementar
                              FormDE-r47s.(pro6.c;e;siiio+tri.i
DE-l.7 lRer.Jrnu.ry 1,200e           DUTIESAND LTABILITIES
                                                         OF PERSONAL
                                                                   REPRESENTATIVE
                                                         (Probate)                                                   107



                                                                   EXHIBIT C
                                                                     24
                                                           EXHIBIT 35
                                                              290
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 137 of 186 Page ID
                                  #:27349




                  EXHIBIT 36
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 138 of 186 Page ID
                                  #:27350
                          Plcnrc PrcrunrsConroRATroN
                              23852PacificCoastHighwan Suite 555
                                      Malibu, CA 90265
                                      Tel: (310)5895151
                                      Fax:(310)S89-S1S2

     October27,2W3

     Mark WarrenPeary(tlklaMark WarrenPeavy)
     Executor
     Estateof losephShuster
     51 CaminoCabo,
     SanteFe,New Mexico87508

    DearWarren:

          We arepleasedto welcomeyou ("Client") asa client of PacificPicturesCorp.
    ("PPC"). This letteris intendedto supplementthejoint ventureagreementdatedasof
    November23,2001betweenPPCandyou andyour mother,JeanPeavy,andto confirm
    theagreement regardingyourengagement    of our companyastheExecutorof therecently
    probatedEstateof JosephShuster.

            1.     Client herebyengages  PPCasits exclusiveadvisorfor thepurposeof
    retrieving,enforcingandexploitingall of JoeShuster's,andhis estate'srights,claims,
    copyrights,property,title andinterestsin andto JoeShuster'screations(hereinafter,
                                                                                    such
    rights,propertyandclaims,areindividuallyandcollectivelyreferredto asthe "Rights,).
    TheRightsshallincludewithoutlimitation,all currentandfuturerights,claims,title,
    copyrightsandinterestsof Clientin andto eachcharacter,storyelement,andindicia
    associated with, andall rightsto proceedsfrom "SUPERMAN,"or the"SIIPERMAN"
    storiesandcomicbooks,including,withoutlimitation,Client's copynghttermination
    interestin "SUPERMANI'pursuantto section304(d)of theu.s. CopyrightIaw.

           2.     In furtheranceof thisexclusiveagreement,   PPC(whichis not a law firm)
    shallengagethe servicesof attorneyMarcToberoff("Toberoff') to furnishdirectlyto
    Clientall legalservicesrequiredby Clientin connectionwith theRights,includingin
    connectionwith all legaldisputes,litigation,arbitratjonand/ormediationregardingthe
    Rights;to impiement,enforceandprosecute    theRights; andto handleihe negctiationof
    anycontractsregardingexploitationof theRights.PPCmay engage     additionaloutside
    counselto assistClient,but onlyat ppC,ssoleexpense.

           3.      PPChaspaidandwill continueto payanyandall costsandexpenses
    incurredby it in connectionwith this agreement,
                                                  includingthelegalfeesandCostsof
    settingup JosephShuster'sEstate,U.S.copyrightoifice costssuchasdocumentrEtrieval
    costsandfiling fees,research costs,andanyandall attomeys'fees,costsand
    disbursements  in connectionwith anylegalactionsor disputesconcerningthe

   Initials:
          4-,1a2ld



                                                                                           125
                                        EXHIBIT 36
                                           291
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 139 of 186 Page ID
                                  #:27351
                      PacrncPrcrunps               ConpourroN
     Page2
     Estateof JosephShuster
     October27,2003

     enforcement and/ordefenseof the RightsandtheEstateof JosephShuster.In additionto
     attorneys'fees,PPCwill be responsiblefor thepaymentof anylegalfiling fees,expert
     witnessfees,subpoenaandserviceofprocessfees,juryfees,depositiontranscriptcosts,
     photocopying, postage,long distancetelephoneandfax charges,computerizedlegal
     research,
             reporter'sfees,costsfor preparationof exhibitsanddemonstrative evidence,
     travelcostsoutsideof the l.os Angelesareaif required,andmessenger fees.Any andall
     attorneys'feespayableon a contingencybasiswill be paid solelyout of PPC'sshareof
     Proceedssetforth in paragraph5 below.

           4.      The termsof anyandall agreements    regardinganyof the Rights,in any
     respect,shallbe subjectto theexpresswrittenapprovalof Client andPPC.The parties
     eachwarrantandrepresentthat aftersigningthis Agreementtheywill not withoutthe
     expresswrittenconsentof all the partiestransfer,limit or encumberthe Rightsin any
     respect.

            5.      Any andall moneysandproceeds,    irr cashor in kind, receivedfrom the
     enforcement,  settlementor exploitationof anyof theRights,includingwithout limitation,
     fixed andcontingentcompensation,   settlementor judgmentamounts,purchaseprices,
     optionor quitclaimfees,and/orroyalties(" Proceeds"),  will be shared,dividedand
     payable:fifty percent6A7o)to Client andfifty percent(50Vo)to PPC.Prior ro the above
     distributionof Proceeds,PPCwill be entitledto recoupall of its out-of-pocketexpenses
     underthis Agreementsubjectto thepresentation   to Client of a reasonable accountingand
     receiptsfor saidexpenses.The partiesherebyacknowledge     andagreethat thedue
     paymentto andreceiptby Clientof hoceedshereunder      shallconstitutethe duereceiptof
     Proceeds by JeanP"ffy andWarrenPefi,respectively, pursuantto paragraph5 of the
     JointVentureAgreement,in full satisfactionof PPC's obligationsundersaidparagraph.

          6.     All notices,conespondence  andpaymentsto eachpartyunderthis
    Agreementshallbe sentto therespectiveaddresses setforth on pageI of this Agreement
    unlesseitherpartynotifiestheotherof an address
                                                 changein writing.

            7.     The term("Term")of this agreement  shailextendfor the full durationof
    theRightsandanyexploitationof theRights.Upontheexpirationof theTerm or in the
    e','entof terminationby Client of this agreement
                                                  for anyr€rillor;all Rightswill beheld
    fifty percsnt(50%)by the Clientandfifty percent(507o)by PPCastenantsin eommon,
    anCClientandPPCwill eachbe entitledto receiveandcontinueto receivefifty percent
    (50Vo)of all Proceeds derivedfrom theRightsaftertermination,if any.

    Initiats:
           "r.'lw/




                                                                                           126

                                        EXHIBIT 36
                                           292
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 140 of 186 Page ID
                      PacnrycPrcrunBs
                                  #:27352ConroRATroN
     Page3
     Estateof JosephShuster
     October27,2003

             8.       To coverthe unlikelyeventthatMarc Toberoffdiesor is disabled;PPC
     will prior to serviceof anynoticeof terminationregardingtheRights(pursuantto Section
     304(d) of the U.S' CopyrightLaw) either(a) anangefor a suitablerepiacement     attorney
     experienced   in copyrightlitigationandwilling to enforcetheRightson solelya
     contingentfee basis;or (b) if no suchreplacement   attorneyis arrangedto obtain.,key
     man"insurancefor Mr. Toberoffin theamountof $150,000payabli solelyto Client.

            g,      All partiesagreeto executesuchfurtherdocumentsandto performsuch
     furtheractsasmay be reasonably   necessaryor desirableto carryout thepurposesand
     effectof this Agreement.Whenrequiredhereunder,    consentshallnot be unreasonably
     withheldby anypartyregardingactionsconducted    underthis agreement.

            10.     This Agreementcontainsthefull understanding    of thepartiesand
     supersedes all prior or contemporaneous  understandingswhetherwrittenor oral with
     respectto the subjectmatterhereofandmaynot bemodifiedexceptin writing signedby
                                                                                        -
     thepartyto be bound.By countersigning    this Agreementthepartiis eachackiowledge
     thattheyclearlyunderstand   thetermsandconditionsof this Agreement;andhaveagreed
     to thesetermsandconditionsafterdetailedandmaturedeliberation.      Thepartiesfurther
     acknowledge   that theyhavenot signedthisAgreementin relianceon anypromiseor
    representation  not expresslysetforth in thisAgreement. The partieshavemutually
    participated in the negotiationanddraftingof thisAgreementandagreethat thetermsof
    thisAgreementshallnot be constnredmorefavorablyto onepartythanthe other.If any
    provisionof this Agreementis foundto be unenforceable    for anyreason,theremainder
    shallbe enforcedasfully aspossibleandtheunenforceable      provisionsshallbe deemed
    modifiedto the limited extentrequiredto permitits enforcement   in a mannermostclosely
    representing  the intentionof thepartiesexpressed herein.This Agreementshallbind and
    inureto thebenefitof the parties,theirrespective heirs,ru.rcsrots andassigns.Executed
    facsimilecopiesof this Agreementshallbevalid acceptable    substitutesfor ixecuted
    originals.

         I l.   This Agreementshallbe govcrnedby thelawsof Californiaapplicableto
    agreementsmadeancito be performedtherein.

          If thetermsandconditionsof this agreement
                                                 areacceptable
                                                             to you,please

    ut
    ut
   iit
   ill
          '{,M
   Initials:




                                                                                             127

                                        EXHIBIT 36
                                           293
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 141 of 186 Page ID
                      Plcmrc Prcrunns
                                  #:27353
                                                 ConpoRATroN
     Page4
     Estateof Joseph
                   Shuster
     October27,2W3

    acknowledge
             youracceptance
                         by signingbelow.

                                             Verytruly yours,

                                              /G
                                             Marc Toberoff
                                             President

    Approval of Engagementof pacific pictures
                                                Corp.

    I havereadthe foregoingagreementandI agreeto
                                                 its terms.
    TheEstateof JosephShuster



                                                   Date:/a&     --p_}-
    By: Mark Waren peary,E:
    (f/Ua Mark Warrenpeavy)


   I havereadthe foregoingagreementandagree
                                           to its termsto the extentanyof my
   interestsareconcerned.



                                                   Date:/O = 7o-o        j




                                                                               128
                                      EXHIBIT 36
                                         294
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 142 of 186 Page ID
                                  #:27354




                  EXHIBIT 37
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 143 of 186 Page ID
                                  #:27355



                , NOTICEOFTERMINATION
                                   OFTRANSFER
             COVERINGEXTENDEDCOPYRIGHTRENEWALTERM
                          OF"SUPERMAN''

To: TimeWarnerInc,                       WarnerBros.Worldwide
    75 Rockefellerplaza                  ConsumerProducts
    NewYork,Ny 10019                     4000WarnerBoulevard
    Attn:RichardD. parsons               Burbank,CA 91S22
    ChiefExecutive Officer                                 president
                                         Attn: Dan Romanelli,
    TimeWarner                           WarnerPublisherServices,Inc.
    EntertainmentCompany,
                       L.p.              135W. 50thStreet,7thFloor
                 plaza
    75 Rockefeller                       NewYork,NY 10020
    NewYork,Ny 10019                     Attn:RichJacobsen,president
    Attn:BarryM. Meyer
    Chairman & C.E.O.                   TimeWarnerBookGroup,Inc.
                                        1271Avenueof the Americas
    WarnerBros.Entertainment
                          Inc.          NewYork,NY 10020
    4000WarnerBoulevard                 Attn:LaurenceJ. Kirshbaum,
    Burbank,CA 91522                                             CEO
    Attn:JohnA. Schulman                WarnerBooks,Inc.
    V.P& GeneralCounsel                 '1271Avenue
                                                    of the Americas
                                        NewYork,NY 10020
    WarnerBros.Inc.                     Attn: LaurenceJ. Kirshbaum,
    4000WamerBoulevard                                             CEO
    Burbank,CA91S22                     Little,Brownand Company,Inc.
    Attn:JohnA. Schulman                1271Avenueof the Americas
    V.P.& GeneralCounsel                NewYork,NY 10020
                                        Attn: LaurenceJ. Kirshbaum,
                                                                  CEO
    WarnerCommunications  Inc.
   c/oTimeWarner,Inc.                   DC Comics,Inc.
   75 Rockefellerplaza                  1700Broadway,7thFloor
   NewYork,Ny 10019                     NewYork,NY 10019
   Attn:PaulT.Cappuccio                 Attn:Pau!Levitz
   E.V.P. & GenerafCounsel              President
                                                & Publisher
   l,^,rarner
           Bros.Television             DC Comics,a Generalpartner.ship
   4000WarnerBoulevard                 1700Broadway,7th Floor
   Burbank, CA91S22                    NewYork,NY 10019
   Attn:PeterRoth,president            Attn: Faul Levitz
                                       ExecutiveV.P.& Publisher
   WarnerMusicGroup
               pfaza
   75 Rockefeller                      DC Direct
   NewYork,Ny 10019                    c/o DC Comics
   Attn:RogerAmes                      1700Broadway,7thFloor
   Chairman& C.E.O.                    NewYork,NY 10019
                                       Attn: PaufLevitz,E.V.p.& publisher



                                 EXHIBIT 37
                                    295
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 144 of 186 Page ID
                                  #:27356


    MiltonBradleyCo.                      MarvelEntertainment
    Divisionof HasbroInc.
                                                              Group.Inc.
                                          10 East4othStreet,gthFloor
    433 ShakerRoad                        NewYork,NY10016
    EastLongmeadow,   MA 0102g            Attn:F. PeterCuneo
    Attn:DavidE. Wilson,president         President& C.E.O.
    Hasbro,Inc.                          GoldenBooksPublishing
    1027NewportAvenue                    1540Broadway
    Pawtucket, Rl 02961                  NewYork,NY 10096
    Attn: Alan Hassenfetd                Attn:AmyJarashow
    ChiefExecutiveOtficer                Associate
                                                 Publisher
    Wildstormproductions                 RandomHouseGoldenBooksfor
    888 ProspectStreet,Suite240          YoungReaders
    La Jolla,CA 92097                    1540Broadway
    Attn: Jim Lee                        NewYork,NY 10096
    Editor& Director                     Attn:KateKlimo
   Wildstormproductions
                                         VicePresident& publisher
   c/o DC Comics                         Random  House,Inc.
   17oOBroadway,7thFtoor                 1745Broadway
   NewYork,Ny 10019                      NewYork,NY10019
   Attn:PaulLevitz                       Attn:Katherine
                                                      J. Trager
           & publisher
   President                             SeniorV.P,& GeneralCounsel
   DarkHorsepublications                 Inkworks
   10956S.E.MainSt.                      432ADe[aLakeDr.
   Mifwaukie
           , OR 97222                    Raleigh,NC 27612
   Attn:MichaelRichardson                Attn:AflanCaptan
   President                             President& CEO
   CantharusProductions,
                      N.V.              PenguinGroup,(USA)Inc.
   8965BayCoveCt.                       375HudsonStreet
   Orlando,FL 92919                     NewYork,NY10014
   Attn:llya Saikind                    Attn:DavidShanks,
                                                        C.E.O.
   llyaSalkindand pierreSpengler        DKPublishing,
   12 ChiswickLane
                                                     Inc.
                                        375HudscnStreet
   LondonW4 2JE,England                 NewYork,NYi 0014
   Attn:AlbionGee,Esq.
   AlbionGee& Co.                                      Davis,publisher
                                        Attn:Christopher
                                        Scholastic,
                                                  Inc.
  HallmarkEntertainment,fnc.            557Broadway
  1325Avenueof the Americas             NewYork,NY10012
  21tt Floor                            Attn: RichardRobinson
  NewYork,NY 10019                      Chairman & CEO
  Attn:RobertHalmi,Jr. Chairman


                                                                           10
                                    EXHIBIT 37
                                       296
 Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 145 of 186 Page ID
                                   #:27357


 PLEASETAKENOTICEthatpursuant
                            to Section304(d)of the UnitedStatesCopyright
 Act(17U'S.C.S304(d))
                   andtheregufations
                                  issuedlhereunder
                                               bytheRegister
                                                          of
 Copyrights,3T
            c.F.R.5201.10,
                        theundersigned       peary,being
                                    MarkWarren         theperson
 entitledto terminate
                    transferspursuant
                                    to saidstatutory
                                                   provisions,
                                                            herebyterminates
 thegrantof thetransferof renewalcopyright(s)
                                           (totheextentof authorJoseph
 Shuste/sownership
                 shareof the renewal
                                  copyright(s))
                                             in andto thecopyrighted
                                                                   work(s)
 entitled'SUPERMAN"
                 madein thosecertainagreements
                                            allas identified
                                                           below,andthe
 undersigned
           setsforthin connection
                                therewith
                                        thefollowing:


      1'    Thenamesandaddresses
                               of thegrantees
                                            and/orsuccessors
                                                          in tile
 whoserightsarebeingterminated
                             areas follows:TimewarnerInc.,75 Rockefeller
 Plaza,NewYork,NY 10019,Attn:RichardD. Parsons,
                                             ChiefExecutive
                                                          officer;Time
warnerEntertainment
                 company,L,P.,75 Rockefefler
                                          plaza,Newyork,Ny 1001g,
                                                                Attn:
BarryM. Meyer,Chairman & C.E.O.;WarnerBros.EntertainmentInc.,4000Warner
Boulevard,Burbank,cA grs22,Attn:JohnA. schurman,v.p. & Generar counser;
warnerBros.Inc.,4000warnerBoulevard, Burbank,cA 91522,Attn:JohnA.
Schufman, V.P.& GenerafCounsel;WarnerCommunications  Inc.,c/oTimeWarner,
                 plaza,Newyork,Ni'i001g,
fnc.,75 Rocke.teller                     Attn:paulr. cappucio,E.V.p.&
General Counsel;WarnerBros.Television,
                                    4000WarnerBoulevard,   Burbank,
                                                                  CA
91522,Attn:PeterRoth,President;
                             warnerMusicGroup,75 Rockefeller  pfaza,New
York,NY i00ig, Attn:RogerAmes,chairman & c.E.o.;warnerBros.woriciwide
consumerProducts, 4000warnerBoulevard, Burbank,cA91522, Attn:DanRomaneffi,
         warnerpubrisher
President;              services,195w. sohstreet,7h Floor,Newyork,N.y.
10020,Attn:RichJacobsen,President;
                                 TimewarnerBookGroup,Inc.,1271Avenue   of


                                                                         11
                                  EXHIBIT 37
                                     297
 Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 146 of 186 Page ID
                                   #:27358


  theAmericas,Newyork,Ny 10020,     Attn:Laurence
                                                J. Kirshbaum,c.E.o.;warner
  Books,lnc.,1271Avenue   of theAmericas, Newyork,Ny 10020,Attn:LaurenceJ.
  Kirshbaum,c.E.o.;Little,Brown,andCompany,   1271Avenue of theAmericas,
                                                                       New
  York,NY10020, Attn:Laurence               c.E.o.;Dc comicsInc.,.l700
                                J. Kirshbaum,
 Broadway,7thFloor,Newyork,Ny 10019,Attn:pautLevitz,Executive
                                                              v.p. &
 Publisher;
          DCcomics,A GeneralPartnership,1200Broadway,  7h Ftoor,Newyork,Ny
 10019,Attn:paulLevitz,Executive
                               V.p.& publisher;
                                             DCDirect,c/oDCComics,17AO
 Broadway,7thFloor,NewYork,NY 10019, Attn:paulLevtiz,E.V.p.& publisher;
                                                                     Milton
 Bradley
       co', Division
                   of Hasbro,
                            tnc.,433shakerFload,EastLongmeadow,   MA0102g,
 Attn:DavidE.Wilson,president;
                            Hasbro,lnc., 1O2TNewport  Ave.,pawtucket,
                                                                   Rl
 02861'Attn:AlanHassenfefd,
                          chief Executive
                                        officer;witdstormproductions,
                                                                   ggg
 Prospect Street,suite 240,LaJoila,cAg2o37,Attn:JimLee,
                                                        Editor& Director;
 wildstormProductions,  c/oDCcomics,1700Broadway,  7h Floor,Newyork,Ny
 10019'Attn:PaulLevitz,President & Publisher;
                                           DarkHorsepublications,10gs6s.E.
 Mainst., Mirwaukie,oR g7222,Attn: Michaer
                                         Richardson,president;cantharus
           N.v.'g965BayCovect., orrando,
Productions,
                                        FL32g1g,Attn:rfyasarkind;
                                                                ilya
safkindandPierrespengler,12chiswickLane,London
                                              w42JE,England,  Attn:Atbion
Gee,Esq.,AlbionGee& co.; Harfmark
                                Entertainment,
                                            Inc.,rs2s Avenueof the
Americas,21'tFroor,Newyork,Ny 10org,Attn:RobertHarmi,
                                                     Jr.,chairman;
                                                                 Man,el
Entertainment
            Group,!nc.,10 East40hstreet,gh Ffoor,Newyork,
                                                         Ny i0016,Attn:F.
PeterCuneo,president& c.E.o.;GofdenBookspubrishing,1540Broadway, New
York,NY10036, Attn:AmyJarashow, Associatepubfisher;
                                                  Random  HouseGorden
BooksforYoungReaders, 1540Broadway, Newyork,Ny 10036,  Attn:KateKilmo,
            & pubrisher;
VicePresident          Random  House,Inc.,174sBroadway,Newyork,Ny

                                                                         12
                                   EXHIBIT 37
                                      298
  Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 147 of 186 Page ID
                                    #:27359


  10019'Attn:KatherineJ. Trager,seniorv,P.& General
                                                  counsel;fnkworks,4g2oDetta
  LakeDrive,Rareigh,Nc 27612,Attn:Afrancapran,president& c.E.o.;penguin
                                                                      Group
  (usA)Inc.,375Hudsonstreet,Newyork,
                                        Ny 10014,
                                                Attn:Davidshanks,c.E.o.;DK
  Publishing,
            tnc.,37sHudsonstreet,Newyork,Ny r0014,
                                                    Attn:christopher
                                                                   Davis,
  Publisher;
          scholastic,Inc.,5s7Broadway, Newyork,Ny 10012,Attn:Richard
  Robinson'
         chairman& c.E.o. Pursuant
                                to 37 c.F.R.section201.10(d),
                                                           service
                                                                 of this
  noticeis beingmadeby firstclassmail,andadditionaily
                                                   serviceof thisnoticeis being
  madeby certifiedmail,returnreceiptrequested,
                                            to theabovegranteesor successors  at
  theaddresses shown


         2.                       ,Work;,,collectively,,Works,,)
             Theworks(individually,                   the         to whichthis
 Noticeof Terminationappliesareasfollowsl:Thetitleof theoriginal
                                                                copyrightedwork
 to whichthisNoticeof Termination
                                applies
                                      is supERMAN,     an illustrated
                                                                    comicbook
 storyconstituting
                 a frontcoverandpages1-13,inclusive,
                                                  in thebodyof Actioncomics,
 Vor,1,No.1, June,1g3gissue,whichwaspubrished
                                               onAprir1g,1g3g.Thisworkwas
 registered
          forcopyrightunderregistration
                                      No. Bgzgrgzandcopyright
                                                            wasoriginally
 1ThisNotice
               of rermination appliesasweflto eachandeveryelement
 withoutlimitation, thestoryor'siories,                                   of eachwork, including
                                       character  oi.r,'.Lr*,.the lnterpl_ay   of suchcharacters,
 themeor themes,    settingsor locates,'and includer,
 andescapeas an infantloEarthin a rocka.rnip,iiJirilr   ouiL:nor.limitedto, superman, hisorigins
 bounceotfhischestandhe's                                      strengrh,ni'slnvulnerability
                                                                                         (bullets
                               lmpervious  to *rei,'trisrrirt speed,hisabilityto feapgreat
 distances in a singlebound,his  ielescopi"  uirioii,'n[r,i*p?r
senseof humor'hisc'tean-cut                                    hearing andsenseof smerf,his
                                goodloors.,hir high;";;H ethjcsand
as a crimefightera.loas a chjmpio"                                       compassion, hismission
diamcndshaped"s" insignia             "llri.rrJil;;:'il      stytized              cape,the
                              on histrt"t1, rrissecreill"ntitvlalter"ortrrl.nd
                                                                      ego as the
bespectacled   newspaper   reporter,                                             mild
                                   Cta* *e;i, ih;f"i;i;.no .nr"r,iv6femalereporter   mannered
interest'LoisLane,.the  love'tri"ryito".1*r"nbup_"m"ir,-i.oi,                           fove
boss/ newspaper     Editor(a.k.a.e-erry                          Lane and clark  Kent,clarkKent,s
                                      wn't";, th;ilffirinet newsp"p"i(f*.". the
whereclarkKent'LoisLaneandthe eljlor it"tk,.th;;i#                                    Dairystar)
characters tive(a.k.a.i4:lr?egris):                           rrys.rapermetroporis  wherethese
                                   superman's    scientilti.n",  (a:!.a.Jor L) and
          -a
birthplace highryadvanced       ouiooomeddistantpranet(a.k.a.Krypton).             superman,s



                                                                                          13
                                            EXHIBIT 37
                                               299
 Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 148 of 186 Page ID
                                   #:27360


  securedin thisWorkas of itsApril18,1938publication
                                                  date.ThisWorkwaswrittenby
  JeromeSiegelandillustrated byJosephShuster.Renewalof  thecopyright
                                                                   in andto
  thiswork wasmadeon June1, 1965,in thenameof National  periodical
                                                                publications,
  Inc'claiming
             as proprietor
                        of copyright,
                                    underrenewal registration
                                                            No.R3621gg.This
  work wasbasedupon,incorporated, andconstituted
                                               a slighflyrevisedversionof,ths
  following
          worksto whichthisNoticeof Termination
                                              alsoapplies:twenty-fourdays(i.e.,
  foursixdayweeks)of previously
                             unpublished
                                      SUPEHMAN
                                             newspaper
                                                    comicstrips,
 createdc' 1934,writtenby JeromeSiegetandillustrated
                                                   byJosephShuster.2
                                                                  The
 remaining worksto whichthisNoticeof Termination
                                               applies
                                                     are:
  Title            NameofAutho(
                                 @                                                         coovriqhtReo.No.
  SUPERMAN  story .leromesieger work createdc.1938
  in comicbookform JosephShuiter                                                           N/Ag


 t In
                                                                                the court
 a n d J o s e p h S h u s t e r w e r e , t h e e c a r t o o n c n a r a c t,e r S u p e rfound
                                                                                             m a n that
                                                                                                   a n dJeromeSiegef
 ol the titlesupermanand firstcrelted cartoonmaterial
                                                                         in whichsaidcharacterand titlefirst
 appearedin 1934"',"and furtherfoundthatthistti"ri"las
                  'the                                                         incorporated    in ActionComicsNo. 1
 constituted:          formulafor the continuingSUCERMANieries                      to come.   lt depictedand
 narratedthe originof the charactersufEHMAN, il';;riained
 pictorialrepresentation                                                             u .orpr"tlJetineation    of the
                              of SUPERMAN,          of his r,,iuitsino character,        of  the
 and attributeswithwhichSUPERMANwas endowedand                                                   superhuman   powers
                                                                           of the sphereof publicgoodwhich
 SUPERMANexploitswereto enhance.".Findings                       of-ractanoConclusionr'oit"r by RefereeJ.
 A d d i s o n Yo un g ,fl 1 |8 ,2 2 (N o ve mber 1,^1,947) ;9.";;*
 Pub..|nc.eta|.,opiniono|RefereeJ.A.ddisonYod;,;;ffitionedmateria|]
 certainlycontainedthe fulldelineation the.clgract#5ri,g-"n
                                                  gf                                  andthoughthe storyor
 continuitymightvaryin the futurefromtime.to-time,                 ii oio,'i believeconstituiea formulafor the
 continuingseriestocome...',).|n,theSecond
Circuitcoy'lofAppea|sreverseoffiinationthatActionComicsNo.1
was a work-for-hire      and held:"supermanandhis miraculous                    powerswerecompletely
developedlongbeforethe e-mploiment                 refationship    wasinstituted.The recordindicatesthatthe
revisionsdirectedby the oetendantsw91e_gimnlv                   tb accomodate
format."508 F.zd909,914 (2* Circuit1974).' '                                         supermanto a magazine

3 The second
                   and thirdworks listedin thistableas welfas the above-referenced
previouslyunpublished                                                                                   24 daysof
                             SUPERMANnewspaper                 comicstripswerefirstpublishedin a somewhat
revisedformon Aprir19,lggg as Actioncbmics,v"r. r,
                                                                         ivl. r, June,1ggg,whichwas
registered    for copyrightunderregistration         Nto.gizgzgz'anorenewedunderregistration
R362188.                                                                                            -        No.


                                                                                                                 14
                                                     EXHIBIT 37
                                                        300
 Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 149 of 186 Page ID
                                   #:27361


  &                   Ngmpof A,uthor DateCooyriqht
                                                Sgcurqd Qop,vfiqht
                                                                Bgq.No,
  15 SUPERMAN         JeromeSieget Workcreated c.1934   N/A
  dailycomicstrips    JosephShuster
  (12stripsand3
  scripts)

  ActionComics#2 a    JeromeSiegel May25, 19gg                 8379788
                      JosephShuster
  ActionComics#B      JeromeSiegel June25,l ggg                8385466
                      JosephShuster
  ActionComics#4      .leromeSiegel July25, lggg               8387907
                      JosephShuster
  ActionComics#5      JeromeSiegel August25,lgg8               B,394784
                      JosephShuster
  ActionComics# 6    JeromeSiegel September
                                         2G,1g3B               8394866
                     JosephShuster
  ActionComics# 7    JeromeSiegel October25, 1938              8399214
                     JosephShuster



       3'    ThisNoticeof rerminationappliesto thefollowing
                                                          grants,assignments,
transfers
        and/oragreements
                      to the extenteachgrants,transfers
                                                      or assignstherenewal
copyright
       (oranyinterestin or to therenewal
                                       copyright)
                                               to anywork identified
hereinabove:

            (a)A onepageagreement
                                betweenDetective
                                               Comics,lnc.,ontheone
handandJeromesiegelandJoeShuster,
                               co-authors
                                       of thecomicbook/strip
SUPERMAN,
       ontheother,executed
                         onor aboutMarch1, 1g3g;




aActioncomics
             Nos^.-!'_6
                    werereprintedin supermanNos.1 and3 (copyrightReg.Nos.
M299871and8443035,  respectivety)
                               to whichthisNotileof Termination,
applies.                                                      therefore,
                                                                      also


                                                                             15
                                    EXHIBIT 37
                                       301
 Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 150 of 186 Page ID
                                   #:27362


            (b)    A twopageagreement
                                   of purported
                                              employment
                                                      betweenDetective
 Comics,
       lnc.,on theonehand,andJeromeSiegelandJoeShuster,
                                                     co-authors
                                                             of the
 comicbook/strip
              SUPERMAN, on theother,executed
                                           on or aboutDecembe r 4, 1g37:
           (c) A threepagetetteragreement
                                        betweenDetective  Comics,fnc.,on
 theonehand,andJeromeSiegelandJosephShuster,co-authorsof thecomic
 booustrip
         SUPERMAN,
                on theother,executed
                                   onor aboutseptembe
                                                    r 22,1g3g;
            (d)   A threepagefetteragreement
                                          betweenDetective
                                                         Comics,Inc.and
 TheMcclureNewspaper
                  Syndicate,
                          on theonehand,andJeromeSiegelandJoseph
Shuster,
      co-authors
              of thecomicbook/strip
                                 SUPERMAN,
                                        on theother,executed
                                                           onor
aboutSeptember
            22, 1g3g;
            (e)   A twopagetetteragreement
                                        between
                                              Detective
                                                      Comics,Inc,,on
theonehand,andJeromeSiegelandJosephShuster,     co-authors
                                                         of thecomic
book/strip
        SUPERMAN,    on theother,executedonor aboutDecember   1g,1g39;
           (f)    A sevenpageagreement or stipulation
                                                    betweenNationalGomics
Publications,
           Inc.,IndependentNewsco., Inc,,TheMcclureNewspaper   syndicate,
HarryDonenfeld,
             JacobS. Liebowitz,
                             PaulH.Sampliner
                                          andwayneEforing,
                                                        ontheone
hand,andJeromesiegelandJosephshuster,co-authors
                                             of thecomicbook/strip
SUPERMAN, ontheother,executed
                            on or abouiMay19,194g;
           (g)    A twelvepagetetteragreement
                                           (withadditional
                                                        pagesforexhibits)
between
      WarnerCommunications
                        !nc.,on theonehand,andJeromesiegeland
Josephshuster,
            co'authors
                     of thecomicbooustrip
                                        supERMAN,
                                                on theother,executed
on or aboutDecember
                 23,1975.


          The effectivedateof termination
                                        shallbe october 26,2013.


                                                                         16
                                  EXHIBIT 37
                                     302
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 151 of 186 Page ID
                                  #:27363




      5.    Nopriortermination
                             of thegrantsof rightsin thecopyright
                                                                of the
aforementioned
            Worksfortheirrenewalcopyright
                                       termhasbeeneiercisedby the
author,JosephShuster,or hisstatutory
                                   heirsor representatives
                                                        pursuantto Section
304(c)of theUnitedStatesCopyright
                               Act(17U.S.C.$30a(c)).


      6.    JosephShusterdiedon July30,1992.Thereis no livingwidow,childor
grandchild
        of Mr.Shuster.
                    Theundersigned,
                                 MarkWarrenPearyis the Executorof the
Estateof JosephShuster;and,as such,is thepersonentitledto exercise
                                                                 Joseph
Shuster's
       termination      pursuant
                 interest     to 17U.S.C.g 904(d),incorporating
                                                             without
limitation
         17U.S.C.S 304(c)(2)(D),
                              as to thegrantsof thetransfers
                                                           described
                                                                   herein.
Tothebestknowledge
                 andbeliefof theundersigned,
                                          thisnoticehasbeensignedbyall
persons
      whosesignature
                   is necessary
                             to terminate
                                       saidgrantsunderSection304(d)of
Title17,UnitedStatesCode.

Dated:NovemberZ,z003
                                   MarkWarrenPeary
                                   Exeeutorof the Estateof JosephShuster
                                   c/o MarcToberotf,Esq.
                                   9595WilshireBoulevard,  Suite811
                                   BeverlyHiils,CA 90212




                                     9
                                                                           17
                                  EXHIBIT 37
                                     303
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 152 of 186 Page ID
                                  #:27364



                      CERTIFICATE
                               OFINVESTTGATION
      I herebycertitythatbeforeservingtheforegoing
                                                 document
                                                        described
                                                                as NOTICE
OFTERMINATION
           OFTRANSFER
                    COVERING
                           EXTENDED
                                  RENEWAL
                                        TERMOF
'SUPERMAN",
         andpursuant
                  to 37 C.F.R.Section201,10(d),
                                             I causeda reasonable
investigation
           to be madeas to thecurrentownership
                                             of the rightsbeingterminated,
including
        a searchof the recordsin theU.S.Copyright
                                               Office.
      I decfareunderpenaltyof periurythattheforegoing
                                                    is trueandcorrect.Executed
     rl
this/,'day of November,
                     2003,at LosAngeles,
                                      Calitornia.




                                   MarcToberotf,Esq.
                                   9595WilshireBoulevard,Suite811
                                   BeverlyHills,CA 90212

                                   Counselfor the Estateof JosephShuster




                                                                             18
                                 EXHIBIT 37
                                    304
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 153 of 186 Page ID
                                  #:27365



                              CERTIFICATE
                                       OFSERVICE
      I herebycertifythatI causeda truecopyof theforegoing
                                                         document
                                                                described
                                                                        as
NOTICE
     OFTERMINATION
                OFTRANSFER
                         COVERING
                                EXTENDED
                                       RENEWAL
TERMOF'SUPERMAN'to
                be servedtnistday           of November,
                                                      2003,by FirstClass
Mail,postage
           prepaid,
                  uponthefollowing:
To: TimeWarnerlnc.                       WarnerMusicGroup.
                 plaza
    75 Rockefeller                       75 Rockefeller
                                                     Plaza
    NewYork,NY 10019                     NewYork,NY10019
    Attn:RichardD. parsons               Attn:RogerAmes
    ChiefExecutiveOtficer                Chairman& C.E.O
    TimeWarner                           WarnerBros,Worldwide
    EntertainmentCompany,
                       L.p.              Consumer Products
                 plaza
    75 Rockefeller                       4000WarnerBoulevard
    NewYork,NY 10019                     Burbank,CAglSZz
    Attn:BarryM. Meyer                                   president
                                         Attn:DanRomanelli,
    Chairman & C.E.O.
                                        WarnerPublisher
                                                      Services, Inc.
    WarnerBros.Entertainment
                          tnc.          135W. 50thStreet,7h Floor
    4000WarnerBoulevard                 NewYork,NY 10020
    Burbank,CAglSZz                     Attn:RichJacobsen
    Attn:JohnA. Schulman                President
    V.P.& GeneralCounsel
                                        TimeWarnerBookGroup,Inc.
   WamerBros.Inc.                       1271Avenue of theAmericas
   4000WarnerBoulevard                  NewYork,NY 10020
   Burbank,CAg1S22                      Attn:Laurence
                                                    J. Kirshbaum,
   Attn:JohnA. Schulman                                        CEO
   V.P.& GeneralCounsel                 WarnerBooks,Inc.
                                        1271Avenue of theAmericas
   WarnerCommunicationsInc.             NewYork,NY10020
   c/oTimeWarner,Inc.                   Attn:Laurence
                                                    J. Kirshbaum,
                                                                CEO
               plaza
   75 Rockefeller
   NewYork,NY 10019                     Liitle,BrownandCompanyr,!nc.
   Attn:PaulT.Cappucio                   1271Avenue  of theAmericas
   E.V.P.& Generaleounsel               NewYork,NY10020
                                        Attn:LaurenceJ, Kirshbaum,
                                                                 CEO
   WarnerBros.Television
   4000WarnerBoulevard                  DCComics,  Inc.
   Burbank,CA91S22                      1700Broadway, ZthFloor
   Attn:PeterRoth,president             NewYork,NY10019
                                        Attn:PaulLevitz
                                        President
                                                & Publisher
                                   ll
                                                                         19
                                 EXHIBIT 37
                                    305
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 154 of 186 Page ID
                                  #:27366


    D_C Comics,a Generalpartnership       flyaSalkindandpierreSpengter.
    1700Broadway,7th Floor
                                          12Ghiswick Lane
    NewYork,Ny 10019
                                          LondonW4 ZJE,England
    Attn:PaulLevitz
                                          Attn:AlbionGee,Es(.
    ExecutiveV.p. & publisher             AfbionGee& Co
    DC Direct
                                         HaffmarkEntertainment,
                                                              Inc.
    c/o DC Comics
                                         1325Avenueof theAmericas
    1700Broadway,  7h Floor
    Newyork, Ny i 0019
                                         21stFloor
    Attn:PaulLevitz
                                         NewYork,Ny 10019
    E.V.P.& pubfisher
                                         Attn:RobertHalmi,Jr.
                                         Chairman
    MiltonBradteyCo.
    Divisionof HasbroInc.
                                         MarvefEntertainmentGroup,Inc..
                                                                    -
    433 ShakerRoad
                                         10East4orhStreet,gthFloo;
    EastLongmeadow,                      NewYork,Ny 10016
                      MA O1O2g           Attn:F. PeterCuneo
    Attn:DavidE, Wilson,president
                                         President& C.E.O
   Hasbro,Inc.
   1027NewportAvenue
                                         GoldenBookspublishing
   Pawtucket,                            1540Broadway
             Rl 02961                    NewYork,Ny 10036
   Attn:AlanHassenfeld
   ChiefExecutiveOfficer                 Attn:AmyJarashow
                                                 publisher
                                         Associate
   Wildstormproductions
   888 ProspectStreet,Suite240
                                        RandomHouseGofdenBooksfor
   La Jofla,CAgZOgT                     YoungReaders
   Attn:Jim Lee
                                        1540Broadway
   Editor& Director                     NewYork,Ny 100g6
                                        Attn:KateKlimo
   Wifdstormproductions
                                        VicePresident& pubfisher
   c/o DCComics
   1700Broadway,7rhFfoor                Random  House,fnc.
   NewYork,Ny 10019                     1745Broaciway
   Attn:PaulLevitz                      NewYork,Ny 10019
                                        Attn:Katherine
                                                     J. Trager
           & pubtisher
   President
                                        SeniorV.p.& GeneralCounsel
  DarkHorsepublications
  10-q56                                Inkworks
        S.E.MainSt.                     432ADeltaLakaDr.
  Milwaukle
          , OR 97222
  Attn:MichaefRichardson,               Raleigh,NC 27612
  President                             Attn:AllanCaplan
                                        President& CEO
  Cantharusproductions,N.V.
  8965BayCoveCt.                             Group(USA)Inc.
                                       l_enguin
                                       375HudsonStreet
  Orlando, FL g2g1g                    New York, Ny 1OO14
  Attn:llyaSalkind
                                       Atln: DavidShanks,C.E.O.

                                                                          20
                                    EXHIBIT 37
                                       306
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 155 of 186 Page ID
                                  #:27367


    DKPublishing,Inc.                           Scholastic,
    375HudsonStreet                                      Inc.
                                                557Broadway
    NewYork,NY 10014                            NewYork,NY 10012
    Attn:Christopher
                   Davis,publisher              Attn:Richard
                                                           Robinson
                                                Ghairman& CEO

     I declareunderpenaltyof perjurythattheforegoing
                                                   is     trueandcorrect.Executed
thisrc(^y of November,
                    2003,at LosAngeres,
                                     carifornia.



                                           ----------)-
                                     ,Z7-*tV
                                  MarcToberoff,Esq.
                                  9595WilshireBlvd.,Suiteg11
                                  BeverlyHills,CA 9A212

                                  Counselfor the Estateof JosephShuster




                                                                            21
                                 EXHIBIT 37
                                    307
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 156 of 186 Page ID
                                  #:27368




                  EXHIBIT 38
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 157 of 186 Page ID
                                  #:27369




                                 EXHIBIT 38
                                    308
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 158 of 186 Page ID
                                  #:27370




                                 EXHIBIT 38
                                    309
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 159 of 186 Page ID
                                  #:27371




                                 EXHIBIT 38
                                    310
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 160 of 186 Page ID
                                  #:27372




                                 EXHIBIT 38
                                    311
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 161 of 186 Page ID
                                  #:27373




                                 EXHIBIT 38
                                    312
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 162 of 186 Page ID
                                  #:27374




                                 EXHIBIT 38
                                    313
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 163 of 186 Page ID
                                  #:27375




                                 EXHIBIT 38
                                    314
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 164 of 186 Page ID
                                  #:27376




                                 EXHIBIT 38
                                    315
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 165 of 186 Page ID
                                  #:27377




                                 EXHIBIT 38
                                    316
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 166 of 186 Page ID
                                  #:27378




                  EXHIBIT 39
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 167 of 186 Page ID
                                  #:27379




                                 EXHIBIT 39
                                    317
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 168 of 186 Page ID
                                  #:27380




                                 EXHIBIT 39
                                    318
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 169 of 186 Page ID
                                  #:27381




                                 EXHIBIT 39
                                    319
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 170 of 186 Page ID
                                  #:27382




                                 EXHIBIT 39
                                    320
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 171 of 186 Page ID
                                  #:27383




                                 EXHIBIT 39
                                    321
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 172 of 186 Page ID
                                  #:27384




                                 EXHIBIT 39
                                    322
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 173 of 186 Page ID
                                  #:27385




                                 EXHIBIT 39
                                    323
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 174 of 186 Page ID
                                  #:27386




                                 EXHIBIT 39
                                    324
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 175 of 186 Page ID
                                  #:27387




                  EXHIBIT 40
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 176 of 186 Page ID
                                  #:27388


                              \                                                                         CONFORMED COpy


       1   WEISSMANN WOLFF BERGMAN                                                                       CJ
                                                                                                         -<                     C}

            COLEMAN GRODIN & EVALL LLP                                                                                  o::.:~           r-.:>
                                                                                                                                         =
       2   Michael Bergman (SBN 37797)                                                                   I              ~:.:-
                                                                                                                        "'. -~~-,.,,~    =
                                                                                                                                         ........
           Anjani Mandavia (SBN 94092}                                                                                  :.r-" ....       ::....
                                                                                                                        ~
                                                                                                                                     ~




                                                                                                                                         v
       3   9665 Wilshire Boulevard, Ninth Floor                                                                    ...:r~.- - :
                                                                                                                        ~.
                                                                                                                                     )
                                                                                                                                         :::0
                                                                                                                                                    ."
           Beverly Hills, California 90212                                                                         ;;~:::;2              w
       4   Telephone: 310-858-7888
                                                                                                                   "::;IVf~-'''!
                                                                                                                   {.,'j-t,~         !
                                                                                                                                         a          r
                                                                                                                   5~}=:-~               -0         rr1
           Fax:         310-550-7191                                                                               ft1~Ir.::;            ~          0
                                                                                                                       ( j --~
       5
           FROSS ZELNICK LEHRMAN & ZISSU, P.C.                                                                         »0
                                                                                                                       rC.J
                                                                                                                                         -..

                                                                                                         I
                                                                                                                       -'I,' :, ....     U1
       6   Roger L. Zissu (Admitted pro hac vice)                                                                                        N
                                                                                                              ~W
                                                                                                                             -I
           866 United Nations Plaza
       7   New York, New York 10017
           Telephone: 212-813-5900
       8   Fax:        212-813-5901
       9   PERKINS LAW OFFICE, P.C.
           Patrick T. Perkins (Admitted pro hac vice)
      10   1711 Route 9D
           Cold Spring, NY 10516
      11   Telephone: 845-265-2820
           Fax:         845-265-2819
      12
           Attorneys for Defendants and Counterclaimant
      13
                            UNITED STATES DISTRICT COURT
      14           CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
      15   JOANNE SIEGEL and LAURA                                             Case Nos. [Consolidated for
           SIEGEL LARSON,                                                      Discoveryl
      16                                                                       CV 04-8400 SGL (RZx)
                         Plaintiffs,                                           CV 04-8776 SGL (RZx)
      17                                                                       Hon. Stephen G. Larson, U.S.D.J.
                   vs.                                                         Hon. Rafph Zarefsky, U.S.M.J.
      18
           TIME WARNER INC., WARNER                                            DECLARATION OF PAUL
      19   COMMUNICATIONS INC., WARNER                                         LEVITZ IN SUPPORT OF
           BROS. ENTERTAINMENT INC.,                                           DEFENDANTS' MOTION FOR
      20   WARNER BROS. TELEVISION                                             PARTIAL SUMMARY
           PRODUCTION INC., DC COMICS,                                         JUDGMENT
      21   and DOES 1-10,
      22                 Defendants.                                           Time:       10:00 a.m.
                                                                               Date:       July 16, 2007
      23                                                                       Courtroom 1
                                                                               Judge Stephen G. Larson
      24
      25
      26
      27
           AND RELATED COUNTERCLAIMS.
      28   I~   __________________________




                                       T"\n,-..T   A Tl A TTr\'l\..T r\T.' n   A TTT   T n"'( TT'T''7




                                          EXHIBIT 40
                                             325
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 177 of 186 Page ID
                                  #:27389

                           (                                    (


       1                           DECLARATION OF PAUL LEVITZ
       2

       3   I, PAUL LEVITZ, declare:
       4          1.      I am the President & Publisher of DC Comics ("DC"), a defendant
       5   and counter-claimant in this action. My business address is 1700 Broadway, New
       6   York, New York 10019. The facts set forth in this Declaration are within my
       7   personal knowledge except where stated to be on information and belief, and as to
       8   those latter facts I am informed and believe them to be true and correct. If called
       9   as a witness I could and would testify competently as to the facts contained in this
      10   Declaration.
      11         2.       I first started working for DC over 30 years ago, initially as a free-
      12   lancer while I was still in high school. Since then I have held a number of
      13   positions at the company, rising from Assistant Editor to Vice President, to my
      14   current position as President & Publisher. I have been in charge of developing the
      15   vision that has guided DC's growth over the past five years, and for the previous
      16   two decades was one of the two principal executives with that responsibility. In
      17   my current position, I participate in the daily operations of DC and also delegate
      18   authority to DC executives and employees to oversee those daily operations.
      19         3.       This Declaration will address the corporate history of DC and its
      20   relationship with defendants Time Warner Inc. ("TWI") and Warner Bros.
      21   Entertainment Inc. ("WBEI"). It also will set forth some of the background of the
      22   Superman property, and DC and its predecessors' relationship with Jerome Siegel
      23   ("Siegel") and Joseph Shuster ("Shuster"), who together created the original
      24   Superman character. Because this history and the parties' relationship reach back
      25   almost 70 years, some of the facts stated in this Declaration are necessarily on
      26   information and belief and/or are based on the records and files of DC and its
      27   predecessors. However, this early history is part of the acknowledged background
      28   of Superman, and is non-controversial.

                                                       1
                                       DECLARATION OF PAUL LEVITZ

                                          EXHIBIT 40
                                             326
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 178 of 186 Page ID
                                  #:27390
                          /
                          (                                   (
                                                               '"
       1          The Creation and Development of Superman and Superboy
       2          4.     I am informed and believe that in the 1930s, Plaintiffs' predecessor,
       3   Siegel, along with his creative partner, artist Shuster, jointly conceived of and
       4   created a cartoon strip that ultimately became the first Superman story. Their.
       5   proposed syndicated strip of Superman was rejected numerous times over several
       6   years by a number of different publishers; but in 1938, Detective Comics, Inc.
       7   ("Detective"), the predecessor-in-interest to DC, agreed to publish Superman in its
       8   upcoming new comic book series, Action Comics. Siegel and Shuster had been
       9   providing Detective with comic book features since late 1935, and had entered into
      10   an agreement with Detective in December 1937, which provided that "any new and
      11   additional features which [Siegel and Shuster] produce for use in a comic
      12   magazine are to be first submitted to [Detective]." Siegel and Shuster submitted
      13   their Superman strip to Detective under the December 1937 agreement.
      14          5.    On March 1, 1938, Siegel and Shuster executed an assignment to
      15   Detective of all of their rights in Superman and in any previously created work
      16   employing that character. At Detective's direction, Siegel and Shuster adapted and
      17   expanded their existing Superman strips into a format suitable for a comic book,
      18   and Detective announced the debut of its Action Comics series, and Superman, in
      19· full page announcements in its May, 1938 issues of some of its existing

      20   publications. Thereafter, the first Superman story was published by Detective on
      21   April 18, 1938 inAction Comics No.1, which had a cover date of June 1938.
      22         6.     The }nitial graphic representations of the Superman character in 1938,
      23   in a simple cartoon style, presented his adventures with a limited number of
      24   characters in settings that had the look and feel of that particular period. In the
      25   almost 70 years since the pUblication of Action Comics No.1, DC has authored or
      26   supervised the creation of, and has published and distributed, thousands of other
      27   comic books and syndicated newspaper comic strips containing the adventures of
      28   Superman throughout the United States and abroad in many millions of copies. In

                                                      2
                                      DE CLARATION OF PAUL LEVITZ


                                         EXHIBIT 40
                                            327
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 179 of 186 Page ID
                                  #:27391

                          (                                   (
                                                              \



       1   addition, it has overseen the creation, development and licensing of the character in
       2   a variety of media, including but not limited to, radio, novels, live action and
       3   animated motion pictures, television, live theatrical productions, merchandise and
       4   theme park exploitations. In these tens of thousands of iterations, DC has changed
       5   Superman's appearance and has added decades of new material to further define,
       6   update and develop the character in an ongoing flow of new exploits and
       7   supporting characters resulting in the creation of an entire fictional Superman
       8   "universe."
       9         7.      The presentations of Superman since 1938, provided first by Detectiv
      10   and then DC, were not a static depiction but an ever-evolving portrayal, featuring
      11   new super-powers, new villains and new components to the Superman universe
      12   and back-story. Significantly, many of Superman's powers that are among his
      13   most famous today did not appear in Action Comics No. 1 but only appeared in
      14   later publications. These include his ability to fly; his super-vision which enables
      15   him to see through walls ("x-ray" vision) and across great distances ("telescopic"
      16   vision); his super-hearing which enables him to hear conversations at great
      17   distances; his ability to survive in space without atmospheric protection; and his
      18   "heat vision," the ability to aim rays of extreme heat with his eyes. Also absent
      19   from Action Comics No.1 was any reference to some of the more famous story
      20   elements now associated with Superman but at the time not yet created, such as
      21   "Kryptonite" or the name of Superman's home planet, "Krypton," the "Fortress of
      22   Solitude," and the "Daily Planet." In addition, some of the most famous
      23   supporting characters associated with Superman do not appear in Action Comics
      24   No.1, including Jimmy Olsen and villains Lex Luthor and Brainiac. Unlike many
      25   creative properties developed for media in later decades, in its early days there was
      26   no Superman "bible" which explored aspects of the property not yet presented in
      27   the comics. On information and belief, the Superman story and characters evolved·
      28   on an episode-by-episode basis as directed by the editors of DC for decades.

                                                     3
                                     DE CLARATION OF PAUL LEVITZ


                                        EXHIBIT 40
                                           328
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 180 of 186 Page ID
                                  #:27392
                          (
                          \



       1          8.     In November, 1938, Siegel sent to Detective a letter "pitching" the
       2   idea of a comic strip starring a juvenile Superman, and in December, 1940
       3   submitted a script, under the byline of Siegel and Shuster, titled "Superboy," and
       4   containing some episodes depicting Superman's parents on Krypton, and
       5   Superman on Earth as a baby, a toddler, and an elementary school-age boy. By the
       6   time the script was submitted, Superman's "origin story" on Krypton, and his
       7   childhood with his adopted Earth parents, the Kents, had been explored in a series
       8   of daily and Sunday comic strips, and in the comic book Superman No.1,
       9   published in 1939. Superman's childhood continued to be depicted thereafter, by
      10   DC and its licensees, including in a 1941 animated cartoon from the Max Fleischer
      11   studios, in a May 31, 1942 Sunday comic strip and in a 1942 novel by George
      12   Lowther called The Adventures a/Superman.
      13          9.    Detective did not proceed with either of Siegel's "Superboy"
      14   submissions. However, in November, 1944, without Siegel's or Shuster's
      15   participation, Detective published a comic strip entitled "Superboy" in More Fun
      16   Comics No. 101. Detective continued to publish "Superboy" comic strips - again
      17   without Siegel's or Shuster's participation - bi-monthly until 1946 and monthly
      18   thereafter for many years.
      19          10.   Throughout the almost 70 year history of Superman, DC has built up
      20   strong trademark rights in the name and mark "Superman" and in certain key
      21   symbols and indicia of origin in connection with, and to identify all authorized
      22   uses of, the Superman character in print and all other media. Indeed, DC owns
      23   dozens of federal trademark registrations for Superman related indicia across a
      24   broad array of goods and services. These include, inter alia, Superman's
      25   characteristic outfit, comprised of a full length blue leotard with red cape, a yellow
      26   belt, and the "S" emblem, as well as certain key identifying phrases. Most notable
      27   among the latter is "Look! ... Up in the sky! ... It's a bird! ... It's a plane! ...
     28    It's Superman!" first used in the introduction to the 1940 radio program The

                                                      4
                                        DECLARATION OF PAUL LEVITZ

                                          EXHIBIT 40
                                             329
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 181 of 186 Page ID
                                  #:27393

                          (                                   (


       1   Adventures ofSuperman, and thereafter repeated in Superman television
       2   programming and used on Superman licensed products.
       3          11.   All of these Superman symbols and indicia of origin have been used
       4   on and in connection with a wide variety of publications and licensed goods and
       5   services, as they have been added to the Superman character and mythology under
       6   DC's and/or its predecessors' supervision and direction, since as early as 1938.
       7   The development of one particularly strong trademark corresponded with the
       8   evolution of the appearance of the emblem on the chest of Superman's costume. I
       9   Action Comics No.1, the emblem was a small yellow inverted triangle bearing the
      10   letter "s" shown in yellow and sometimes in red. Thereafter, the emblem changed
      11   significantly, and today is a large yellow five-sided shield, outlined in the color
      12   red, and bearing the letter "s" in the middle, also in the color red (the "S in Shield
      13   Device"). The S in Shield Device, as transformed by DC and its predecessors, has
      14   become a strong symbol, standing alone, of all goods and services relating to
      15   Sl.lperman and his sole source, DC and its predecessors.
      16         Corporate History and Relationships
      17         12.    The company now known as DC Comics began in the 1930s as
      18   "National Allied Publishing." Through a series of name changes, mergers, and
      19   acquisitions in the 1930s and 1940s, National Allied Publishing became Detective.
      20   Comics, Inc., then "National Comics Publications, Inc." and then "National
      21   Periodical Publications, Inc." ("NPP"). In 1967, NPP was purchased by Warner
      22   Communications, Inc. ("WCI"). In 1976, NPP's name was changed to DC
      23   Comics, Inc. (the "DC" standing for "Detective Comics").
      24         13.    In 1993, DC Comics, Inc. was dissolved and converted to a New York
      25   general partnership called "DC Comics" and has remained in that same form
      26   through the present. Since the formation of the DC Comics partnership in 1993, its
      27   partners have undergone one change. From 1993 through March 2003, the
      28   partners of DC were WCI and Time Warner Entertainment Company, L.P.

                                                      5
                                     DECLARATION OF PAUL LEVITZ

                                        EXHIBIT 40
                                           330
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 182 of 186 Page ID
                                  #:27394

                         (                                   (

       1   ("TWEC"), a Delaware limited partnership, and each held a one-half interest in the
       2   partnership. In March, 2003, Time Warner Inc. ("TWI") completed a restructuring
       3   of TWEC, and in connection with that restructuring WCI contributed its 50%
       4   interest in DC to E.C. Publications, Inc. ("EC") and TWEC "distributed its assets,
       5   including its partnership interest in DC, to WCI. As a result, today the partners of
       6   DC are EC and WCI, each holding a one-half interest. EC is also a subsidiary of
       7   WCI, and is the publisher of magazines and comic books such as Mad Magazine.
       8   WBEI has no ownership or partnership interest in DC. A true and correct chart of
       9   the current corporate structure and affiliations between DC, WBEI and TWI is
      10   attached to this Declaration as Exhibit A.
      11          14.   DC is in the business of creating, publishing, and licensing comic
      12   book stories and characters. DC publishes scores of titles, amounting to an output,
      13   of hundreds of different comic books and graphic novels annually. DC is not in
      14   the business of producing movies, television shows, or animated programs. For
      15   that reason, DC enters into license agreements to exploit its intellectual property
      16   through those and other media outlets. DC and its predecessors have entered into a
      17   number of license agreements over the years - with both affiliates and non-
      18   affiliates - that involve the rights to market or exploit Superman. Some of the
      19   agreements grant exclusive licenses to Superman in certain markets or media, and
      20   some grant non-exclusive rights. For example, in November, 1974, NPP entered
      21   into a production agreement for movies based on the Superman property with Film
      22   Export A.G. ("Film Export"), an independent party not affiliated with any TWI
      23   entity. The agreement granted Film Export the exclusive right to produce, exhibit?
      24   and distribute movies based on Superman for a period of up to twenty-five years.
      25   Over the years, WBEI acquired - from Film Export and its representatives -
      26   certain of the rights that Film Export had acquired from NPP.
      27         15.    Since April 16, 1999 (the purported effective date of Plaintiffs'
      28   Superman Termination Notices), and prior to the restructuring ofTWEC in 2003,

                                                     6
                                     DECLARATION OF PAUL LEVITZ

                                        EXHIBIT 40
                                           331
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 183 of 186 Page ID
                                  #:27395

                          (                                 (

       1   DC entered into several license agreements with various divisions ofTWEC
       2   concerning Superman, including agreements for the production and distribution of
       3   the motion picture Superman Returns and of the television series Smallville. Both
       4   the motion picture and the television episodes note that the characters in the movie
       5   and the programs are the copyright of DC.
       6           16.   The agreement for Superman Returns is an "Option Purchase
       7   Agreement" dated as of November 6, 1999, pursuant to which DC granted to
       8   Warner Bros., a division ofTWEC, the exclusive right to produce a feature motion
       9   picture utilizing the Superman property. The agreement for Smallville is a "Rights
      10   Option and Assignment Agreement" dated as of December 5,2000, as amended
      11   September 5,2002, pursuant to which DC granted Warner Bros. Television
      12   Production, a division ofTWEC, the exclusive license to produce a live action
      13   episodic television series based on "the stories and adventures of the comic book
      14   character known as 'Clark Kent" or 'Superman'." DC approved the name
      15   "Smallville" for the series, which was contemplated to be an hour-long dramatic
      16   action series focusing on Clark Kent as a teenager, before he became Superman.
      17   After the 2003 restructuring of TWEC, those license agreements were ultimately
      18   assigned to WB Studio Enterprises Inc., an indirect wholly-owned subsidiary of
      19   WBEI.
      20         17.     While DC has in the past, and continues to have, a business
      21   relationship with WBEI, DC and WBEI are in separate businesses and establish
      22   their own business plans; have separate offices; maintain separate bank accounts
      23   and other books and records; and have mostly different executive officers. For
      24   financial reporting purposes, both DC and WBEI fall within the "filmed
      25   entertainment" group of TWI companies - which also includes New Line Cinema
      26   Corporation and Castle Rock Entertainment - and for operating management
      27   purposes, DC reports to its ultimate corporate parent through WBEI. Accordingly,
      28   I report to and obtain approvals from WBEI's President and Chief Operating

                                                     7
                                     DECLARATION OF PAUL LEVITZ


                                        EXHIBIT 40
                                           332
    Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 184 of 186 Page ID
                                      #:27396

                             (
·   '




           1   Officer before making significant acquisitions or certain financial decisions or
           2   investments that are outside the scope of DC's customary acquisitions and
           3   investments; before implementing meaningful strategic changes; and before
           4   embarking on something substantially outside DC's normal course of business.
           5   However, neither WBEI nor TWI has day to day involvement in DC's core
           6   creative or business decisions and operations other than in areas where they
           7   provide administrative support, such as real estate services; DC does not
           8   commingle its funds and assets with those of WBEI or TWI, and DC is not used as
           9   a mere shell or conduit for the affairs of either WBEI or TWI.
          10
          11                I declare under penalty of perjury under the laws of California and of
          12   the United States that the foregoing is true and correct and that I executed this
          13   Declaration this   ~~ay of April, 2007, at New York, New         ork
          14
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28

                                                          8
                                          DECLARATION OF PAUL LEVITZ


                                            EXHIBIT 40
                                               333
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 185 of 186 Page ID
                                  #:27397




  EXHIBIT A

                                 EXHIBIT 40
                                    334
Case 2:10-cv-03633-ODW-RZ Document 459-3 Filed 07/16/12 Page 186 of 186 Page ID
                                  #:27398
                                                     /




                                                                                  Q

                                 EXHIBIT 40
                                    335
